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                       Exhibit E

            Tough Mudder Privacy Policy




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DEL - Data Consent & Online and Onsite Participant Waiver

I am hereby consenting (and if the personal information submitted herein is of a minor below the age of
18, I am hereby consenting, and am lawfully permitted to consent, on his/her behalf) that Tough Mudder
Incorporated, on behalf of itself and its affiliated entities, can process my personal data for the purpose of
marketing, operating promoting, and informing me of its event series and related businesses. Subject to
applicable law and Tough Mudder policies, I am aware that I may withdraw my consent at any time by
using the data subject consent withdrawal process found in our legal terms and conditions (the link is
found on the footer of the Tough Mudder homepage).
READ THIS DOCUMENT CAREFULLY BEFORE AGREEING TO ITS TERMS. THIS DOCUMENT HAS
LEGAL CONSEQUENCES AND MAY AFFECT YOUR LEGAL RIGHTS AND MAY ELIMINATE YOUR
ABILITY TO BRING FUTURE LEGAL ACTIONS. PARTICIPANTS READ WAIVER #1, and MINI
MUDDERS READ WAIVER #3.
WAIVER #1: PARTICIPANT LEGAL LIABILITY AGREEMENT
PARTICIPANTS: READ THIS DOCUMENT CAREFULLY BEFORE AGREEING TO ITS TERMS. THIS
DOCUMENT HAS LEGAL CONSEQUENCES AND MAY AFFECT YOUR LEGAL RIGHTS AND MAY
ELIMINATE YOUR ABILITY TO BRING FUTURE LEGAL ACTIONS.
NOTE TO MINORS: YOU CAN ONLY PARTICIPATE IN THE TOUGH MUDDER EVENT IF YOU ARE
OVER THE AGE OF 14.If you are under the age of 18, you may only participate in the TOUGH MUDDER
Event accompanied by an adult. You also acknowledge that your parent or guardian has reviewed,
understood and agreed to the terms below.
NOTE TO PARENTS/GUARDIANS OF MINORS: You acknowledge that you have reviewed, understood
and agreed to the terms below (such terms being interpreted as if they applied to both you and your minor
child/ward) and have the legal authority to enter into this Agreement on behalf of your minor child/ward.
Released Parties include TOUGH MUDDER INCORPORATED and its directors, officers, employees,
agents, contractors, insurers, spectators, co-participants, equipment suppliers, and volunteers; VENUE
and its, officers, employees, agents, contractors, insurers, equipment suppliers, and volunteers; all
TOUGH MUDDER INCORPORATED event sponsors, organizers, promoters, officials, property owners,
and advertisers; governmental bodies and/or municipal agencies whose property and/or personnel are
used; and any or all parent, predecessor, subsidiary or affiliate companies, licensees, officers, directors,
partners, board members, supervisors, insurers, agents, equipment suppliers, and representatives of any
of the foregoing.
Releasing Parties include: the participant (and/or my participating minor child/ward) as well as
participant’s (and/or my participating minor child/ward’s) spouse, children, parents, guardians, heirs, next
of kin, and any legal or personal representatives, executors, administrators, successors and assigns, or
anyone else who might claim or sue on participant’s behalf.
Assumption of Inherent Risks:
The TM Event(hereafter used to refer to the appropriate Tough Mudder, Tougher Mudder, Toughest
Mudder, World’s Toughest Mudder or Tough Mudder 5k or other Tough Mudder operated event) is meant
to be a test of toughness, strength, stamina, camaraderie, and mental grit that takes place in one place in
one day. It is not a race against other contestants, but rather a competition with oneself and the course.
The object is to complete the course. Venues are part of the challenge and usually involve hostile
environments that might include extreme heat or cold, snow, fire, mud, extreme changes in elevation, and
water. Some of the activities include runs, military style obstacles, going through pipes, traversing cargo
nets, climbing walls, encountering electric voltage, swimming in cold water, throwing or carrying or getting
hit with heavy objects, and traversing muddy areas. In summation, the TM Event is a hazardous activity
that presents the ultimate physical and mental challenge to participants.
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I acknowledge that the TM Event is an extreme test of my (and/or my participating minor child/ward’s)
physical and mental limits that carries with it inherent risks of physical injury. Inherent risks are risks that
cannot be eliminated completely (without changing the challenging nature of the TM Event) regardless of
the care and precautions taken by Tough Mudder (hereafter used when referring to the corporate entity
Tough Mudder Incorporated and Released Parties). I also understand that it is extremely strenuous with
the accompanying risks and dangers generally present in such activities. I understand that these hazards
may be magnified due to the fact that the TM Event is often conducted under what may be extreme
conditions and circumstances.
I understand and acknowledge that the inherent risks include, but are not limited to: 1) contact or collision
with persons or objects (e.g., collision with spectators or course personnel, contact with other participants,
contact or collision with motor vehicles or machinery, and contact with natural or man-made fixed objects
or obstacles); 2) encounter with obstacles (e.g., natural and man-made water, road and surface hazards,
close proximity and/or contact with thick smoke and open flames, barbed wire, pipes, and electric
shocks); 3) equipment related hazards (e.g., broken, defective or inadequate equipment, unexpected
equipment failure, imperfect course conditions); 4) weather-related hazards (e.g., extreme heat, extreme
cold, humidity, ice, rain, fog); 5) inadequate or negligent first aid and/or emergency measures; 6)
judgment- and/or behavior-related problems (e.g., erratic or inappropriate co-participant or spectator
behavior, erratic or inappropriate behavior by the participant, errors in judgment by personnel working the
event); 7) natural hazards (e.g. uneven terrain, rock falls, lightning strikes, earthquakes, wildlife attacks,
contact with poisonous plants, marine life, ticks and untested soil/mud contaminated with bacteria or other
similar hazards).
I further understand and acknowledge that any of these risks and others, not specifically named, may
cause injury or injuries that may be categorized as minor, serious, or catastrophic. Minor injuries are
common and include, but are not limited to: scrapes, bruises, sprains, strains, muscle tension and
soreness, nausea, cuts, sunburn, abrasions, grazes, lacerations, and contusions. Serious injuries are less
common, but do sometimes occur. They include but are not limited to property loss or damage, broken
bones, fractures, torn or strained ligaments and tendons, concussions, exposure, dehydration, heat
exhaustion and other heat-related illnesses, mental stress or exhaustion, infection, vomiting, dislocations,
hyperthermia, hypothermia, anemia, electrolyte imbalance, loss of consciousness, syncope, dizziness,
fainting, seizures, electric shock and/or injury, and neurological disorders/pain. Catastrophic injuries are
rare; however, we feel that our participants should be aware that they could occur. These injuries can
include, but are not limited to, permanent disabilities, stroke, single or multiple organ failure or
dysfunction, physical damage to organs, spinal injuries, paralysis, heart attack, heart failure, blood cell
disorder, brain swelling, and even death.
I further understand and acknowledge that the TM Event may contain obstacles with electrically charged
wiring and fencing which I may be exposed to during the TM Event. I understand and acknowledge that
exposure to such electrically charged objects may directly cause or contribute to serious and permanent
bodily injury. The injuries include, but are not limited to: skin irritation, electrical burns, muscle spasm,
muscle contraction, single or multiple organ failure, eye injuries including cataracts and temporary or
permanent blindness, cardiac arrest, amputation, heart attack, disruption of normal cardiac rhythm,
bleeding, muscular swelling, decreased blood flow to extremities, loss of consciousness, coma, seizure,
spinal cord injury, fracture, injury to ligaments, paralysis, stroke muscle weakness, neurological disorder,
tingling sensations, infection, muscle breakdown or destruction, depression, anxiety, aggressive behavior,
ulcer, pneumonia, sepsis, and even death.
I also understand that it is my responsibility to consult with my personal physician prior to my or my minor
child/ward participating in the TM Event to ensure that such participation will not pose any unusual risks to
my health and well-being.
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If I believe, or become aware that any aspect of the TM Event is unsafe or poses unreasonable risks, I
agree to immediately notify appropriate personnel. By participating in the TM Event, I am acknowledging
that I have found the course, facilities, equipment, and areas to be used to be safe and acceptable for
participation. I accept full and sole responsibility for the condition and adequacy of my (and/or my minor
child/ward’s) equipment.
I understand fully the inherent risks of my (and/or my participating minor child/ward’s) participation in the
TM Event and assert that I (and/or my participating minor child/ward’s)am/are willingly and voluntarily
participating in the event. I have read the preceding paragraphs and acknowledge that 1) I know the
nature of the TM Event; 2) I understand the demands of this activity relative to my (and/or my participating
minor child/ward’s) physical condition; and 3) I appreciate the potential impact of the types of injuries that
may result from the TM Event. I hereby assert that I knowingly assume all of the inherent risks of the
activity on behalf of myself and/or on behalf of my minor child/ward and take full responsibility for any and
all damages, liabilities, losses, or expenses that I (and/or my participating minor child/ward) may incur as
a result of participating in the TM Event.
Waiver of Liability for ORDINARY NEGLIGENCE:
In consideration of being permitted to participate in the TM Event , and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, I (on behalf of the Releasing
Parties) hereby forever waive, release, covenant not to sue, and discharge Tough Mudder and the other
Released Parties from any and all claims, suits, damages, liabilities, costs, losses or expenses resulting
from the INHERENT RISKS of the TM Event or the ORDINARY NEGLIGENCE of Tough Mudder (or
other Released Parties) that I (and/or my participating minor child/ward) may have arising out of my
(and/or my minor child/ward’s) participation in the TM Event.
This Participant Legal Liability Agreement applies to 1) personal injury (including death) from incidents or
illnesses arising from the TM Event participation, which includes injury during course inspection,
observation, the event, medical treatment, base area features and while on the premises (including, but
not limited to base area, stands, sidewalks, parking areas, sponsor promotions, restrooms, first-aid tents,
and dressing facilities); and 2) any and all of my claims relating to the TM Event, including but not limited
to, damaged, lost or stolen property, and both contractual and non-contractual claims.
Indemnification Agreement:
In consideration of being permitted to participate in the TM Event and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, I hereby agree to hold
harmless, defend and indemnify Tough Mudder (and the other Released Parties) from and against any
and all claims of co-participants, rescuers, and others arising from my (and/or my participating minor
child/ward’s) conduct in the course of my (and/or my participating minor child/ward’s) participation in the
TM Event. For the purposes hereof, “claims” includes all actions and causes of action, claims, demands,
losses, costs, expenses and damages, including legal fees and related expenses. This indemnity shall
survive the expiration or sooner termination of the TM Event.
Other Agreements:
Venue and Jurisdiction: If, despite the overriding Mediation and Arbitration provision I agree to below,
legal action proceeds in a court of law, the local state or federal court of Delaware has the exclusive
jurisdiction and that only the substantive laws of Delaware shall apply.
Severability: I understand and agree that this Assumption of Risk, Waiver of Liability, and Indemnification
Agreement is intended to be as broad and inclusive as is permitted by law in the State of Delaware and
that if any provision shall be found to be unlawful, void, or for any reason unenforceable, then that
provision shall be severed from this Agreement and does not affect the validity and enforceability of any
remaining provisions.
Integration: I affirm that this agreement supersedes any and all previous oral or written promises or
agreements. I understand that this is the entire Agreement between me and Tough Mudder and cannot
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be modified or changed in any way by representations or statements by any agent or employee of Tough
Mudder. This Agreement may only be amended by a written document duly executed by all parties.
Mediation and Arbitration: In the event of a legal issue, I agree to engage in good faith efforts to mediate
any dispute that might arise. Any agreement reached will be formalized by a written contractual
agreement at that time. Should the issue not be resolved by mediation, I agree that all disputes,
controversies, or claims arising out of my (and/or my participating minor child/ward’s) participation in the
TM Event shall be submitted to binding arbitration in accordance with the applicable rules of the American
Arbitration Association then in effect. The cost of such action shall be shared equally by the parties. I
further acknowledge and agree that any question, issue, or dispute as to the arbitrability of any dispute,
controversy, or claim arising out of my participation in the TM Event, will be submitted to an arbitrator in
accordance with the applicable rules of the American Arbitration Association then in effect. The Arbitration
Rules of the American Arbitration Association are available on-line at www.adr.org.
Class Actions: I agree that any arbitration, mediation or legal action shall proceed solely on an individual
basis without the right for any claims to be arbitrated on a class action basis or on bases involving claims
brought in a purported representative capacity on behalf of others. Claims may not be joined or
consolidated unless agreed to in writing by all parties.
Agreements for the Protection of Participants:
I represent and warrant that I (and/or my participating minor child/ward)am/are in good health and in
proper physical condition to safely participate in the TM Event. I certify that I (and/or my participating
minor child/ward)have no known or knowable physical or mental conditions that would affect my/our
ability to safely participate in the TM Event, or that would result in my/our participation creating a risk of
danger to myself (and/or my participating minor child/ward) or to others.
I represent and warrant that I (and/or my participating minor child/ward)am/are in full command of my/our
faculties and am/are not under the influence of alcohol or drugs and agree not to participate in a TM
Event while under the influence of alcohol and/or drugs.
I acknowledge that Tough Mudder recommends and encourages each participant to get medical
clearance from his/her personal physician prior to participation. I assert that I(and/or my participating
minor child/ward) have not been advised or cautioned against participating by a medical practitioner. I
understand that it is my responsibility to continuously monitor my own (and/or my participating minor
child/ward’s) physical and mental condition during the TM Event, and I agree to withdraw immediately and
notify appropriate personnel if at any point my/our continued participation would create a risk of danger to
myself (and/or my participating minor child/ward)or to others.
I represent and warrant that I (and/or my participating minor child/ward)am/are covered by medical
insurance.
In the event of an injury to me (and/or my participating minor child/ward)that renders me (and/or my
participating minor child/ward)unconscious or incapable of making a medical decision, I authorize
appropriate Tough Mudder personnel and emergency medical personnel at the event to make emergency
medical decisions on my (and/or my participating minor child/ward’s)behalf (including, but not limited to
CPR and AED). I understand that it is my sole responsibility to seek medical care should I experience any
unusual physical symptoms, pain or discomfort of any kind following my participation in the TM Event.
I authorize Tough Mudder to secure emergency medical care or transportation (i.e., EMS) when deemed
necessary by Tough Mudder I agree to assume all costs of emergency medical care and transportation.
Entry and Participation Agreements:
Rules: I agree to become familiar with and abide by all written and/or posted rules of Tough Mudder, as
well as all written and/or posted rules of the Venue. I further agree to comply with all directions,
instructions and decisions of Tough Mudder and Venue personnel. I further agree not to challenge these
rules, directions, instructions, or decisions on any basis at any time.
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Chaperones: If you are a chaperone of a participating minor you agree to supervise and stay with the
participating minor at all times during the Event, even on the course.
Emergency Delay or Cancellation: I acknowledge that Tough Mudder at its sole discretion may delay,
modify, or cancel the TM Event if conditions beyond the control of Tough Mudder, or natural or man-made
emergencies beyond the control of Tough Mudder, make administering the event unreasonably difficult or
unsafe. I agree that “emergency” includes but is not limited to: high wind, extreme rain or hail, hurricane,
tornado, earthquake, flood, acts of terrorism, fire, threatened or actual strike, labor difficulty or work
stoppage, insurrection, war, public disaster, and unavoidable casualty. In the event of a delay,
modification, or cancellation of the TM Event as described in this paragraph, I understand that I will not be
entitled to a refund of my entry fee or any other costs incurred in connection with the TM Event. I further
understand and agree that the terms of this waiver shall apply to any newly rescheduled date or location.
Govern Participation: I understand that Tough Mudder has the authority to issue instructions or directions
relating to the manner of my (and/or my participating minor child/ward’s)safe participation in the Course or
Related Activities and the authority to halt my (and/or my participating minor child/ward’s)participation in
the TM Event or Related Activities at any time they deem it necessary to protect the safety of participants,
spectators, and personnel; and/or promote fairness and the spirit of Tough Mudder.
Removal from Course: I understand that Tough Mudder and Venue personnel may immediately cause
anyone who disobeys any rules, directions, instructions, decisions, or laws, or whose behavior endangers
safety or negatively affects a person, facility, or property of any type or kind, to be removed from the
Course.
Fee Refunds: I understand that all fees and associated costs (including optional product purchases,
spectator tickets, and donations), paid in registration for this TM Event are not refundable for any reason
under any circumstances, including but not limited to injury, a scheduling conflict, and/or event
cancellation.
Attitude and Behavior: I agree to exhibit appropriate behavior at all times; demonstrate respect for all
people, equipment, and facilities; and participate with a cooperative and positive attitude.
Alcohol & Drugs: I understand that the consumption of any alcohol and any illicit or illegal drugs or
substances during the event is strictly prohibited. Tough Mudder will only allow the responsible
consumption of alcohol after the TM Event. The consumption of any illicit or illegal drugs or substances
before, during, and after the TM Event is strictly prohibited. I agree to take full responsibility for any
alcohol consumption at the Event.
Specific Rules: I specifically acknowledge and agree to abide by the following rules: 1) no urination or
defecation is permitted outside of designated areas; 2) no non-medically necessary wheeled
conveyances or non-service animals are allowed in the Course at any time; 3) no clothing, props or
equipment that pose an unnecessary risk to participants, spectators or personnel are permitted; and 4)
obey civil and criminal laws including traffic laws.
Photography: I understand that any and all photographs, motion pictures, recordings, and/or likenesses of
me (and/or my participating minor child/ward)captured during the TM Event by Tough Mudder, its
affiliated entities or contractors, and/or the media become the sole property of Tough Mudder. I grant the
right, permission and authority to Tough Mudder and its designees to use my (and/or my participating
minor child/ward’s)name and any such photographs, motion pictures, recordings, and/or likenesses for
any legitimate purpose, including but not limited to promoting, advertising, and marketing activities. I
further understand that Tough Mudder and its designees have the full right to sell and/or profit from the
commercial use of such photographs, motion pictures, recordings, and/or likenesses.
Acknowledgment of Understanding:
I have read this Participant Legal Liability Agreement, and fully understand its terms. I understand that I
(and/or my participating minor child/ward) am/are giving up substantial rights, including my/our right to
sue. I further acknowledge that I (and/or my participating minor child/ward) am/are freely and voluntarily
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accepting the terms of the agreement and participating in the TM Event, and intend my electronic
signature to be a complete and unconditional release of all liability due to ORDINARY NEGLIGENCE of
Tough Mudder (and other Released Parties) or the INHERENT RISKS of the activity, to the greatest
extent allowed by law in Delaware.
IF I AM A PARENT OR GUARDIAN OF A PARTICIPANT UNDER THE AGE OF MAJORITY WHO IS
PARTICIPATING IN THE TM EVENT (“MINOR CHILD/WARD”), I HEREBY GIVE MY APPROVAL FOR
MINOR CHILD/WARD’S PARTICIPATION IN THE TM EVENT, REPRESENT THAT THE MINOR
CHILD/WARD IS IN GOOD PHYSICAL CONDITION AND ACKNOWLEDGE THAT I HAVE REVIEWED
UNDERSTOOD AND AGREE TO THE TERMS HEREIN (SUCH TERMS BEING INTERPRETED AS IF
THEY APPLIED TO BOTH ME AND THE MINOR CHILD/WARD) AND HAVE THE LEGAL AUTHORITY
TO ENTER INTO THIS PARTICIPANT LEGAL LIABILITY AGREEMENT ON BEHALF OF THE MINOR
CHILD/WARD.
WAIVER #3: MINI MUDDER
PARENTAL/GUARDIAN CONSENT AND LEGAL LIABILITY AGREEMENT
PARENTS/GUARDIANS OF MINOR PARTICIPANTS: READ THIS DOCUMENT CAREFULLY BEFORE
AGREEING TO ITS TERMS. THIS DOCUMENT HAS LEGAL CONSEQUENCES AND MAY AFFECT
YOUR AND YOUR MINOR’S LEGAL RIGHTS, AND MAY ELIMINATE YOUR ABILITY TO BRING
FUTURE LEGAL ACTIONS. AS THE PARENT OR GUARDIAN OF A MINOR UNDER THE AGE OF 18
WHO IS ATTENDING THE TOUGH MUDDER EVENT WITH YOU, BY AGREEING TO THIS
DOCUMENT, YOU HEREBY AGREE TO THE TERMS OF THIS DOCUMENT ON THEIR BEHALF AND
GIVE APPROVAL FOR THE MINOR’S PARTICIPATION IN THE MINI MUDDER AREA AT THE TOUGH
MUDDER EVENT (“TOUGH MUDDER EVENT” INCLUDES THE MINI MUDDER EVENT) UNDER YOUR
DIRECT SUPERVISION.
Released Parties include Tough Mudder Incorporated and its directors, officers, employees, agents,
contractors, insurers, spectators, equipment suppliers, and volunteers; VENUE and their officers,
employees, agents, contractors, insurers, equipment suppliers, and volunteers; all Tough Mudder event
sponsors, organizers, promoters, directors, officials, property owners, and advertisers; governmental
bodies and/or municipal agencies whose property and/or personnel are used; and any or all parent,
subsidiary or affiliate companies, licensees, officers, directors, partners, board members, supervisors,
insurers, agents, equipment suppliers, and representatives of any of the foregoing (hereinafter jointly
“Tough Mudder”)
Releasing Parties include: the parent/guardian, his or her minor(s) participating in the Mini Mudder Area,
and the parent/guardian’s spouse, children, parents, guardians, heirs, next of kin, and any legal or
personal representatives, executors, administrators, successors and assigns, or anyone else who might
claim or sue on behalf of the minor(s) participating in the Mini Mudder Area’s behalf and anyone who
might claim or sue on behalf of the parent/guardian.
Assumption of Inherent Risks:
The Mini Mudder Area is a part of the overall Tough Mudder Event and is a hazardous activity in a
dangerous environment. Some of the activities include, but are not li mi ted to runs, traversing pipes,
cargo nets and muddy areas, and climbing walls. The environment, the activities, and the efforts of
participants can put other participants at serious risk of injury. Some of the inherent risks to participants
include, but are not limited to contact or collision with 1) persons or objects (e.g., other participants,
course personnel, spectators), motor vehicles or machinery, and natural or man-made fixed objects or
obstacles; 2) obstacles (e.g., natural and man-made water, road and surface hazards, and pipes); 3)
weather-related hazards (e.g., extreme heat, extreme cold, humidity, ice, rain, fog); 4) inadequate first aid
and/or emergency measures; 5) judgment and/or behavior-related problems (e.g., erratic or inappropriate
behavior by participants, personnel, or spectators, and errors in judgment by personnel working the
event); and 6) natural hazards (e.g. uneven terrain, rock falls, lightning strikes, earthquakes, wildlife
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attacks, poisonous plants, marine life and/or ticks). I understand, agree, and accept that some of the
obstacles my minor(s) may go through contain water that has not been tested for chemicals, disease, or
other contamination. My child will not dive head first into a mud pit.
This Parent/Guardian Consent and Legal Liability Agreement applies to 1) personal injury (including
death) from incidents or illnesses arising from the Mini Mudder, which includes injury during course
inspection, observation, the event, and while on the premises (including, but not limited to stands,
sidewalks, parking areas, restrooms, and dressing facilities); and 2) any and all of my claims relating to
the TM Event, including but not limited to, damaged, lost or stolen of property, and both contractual and
non-contractual claims
I further understand and acknowledge that any of these risks and others, not specifically named, may
cause injury or injuries that may be categorized as minor, serious, or catastrophic. Common minor injuries
include, but are not limited to: scrapes, bruises, sprains, nausea, and cuts. Less common serious injuries
also sometimes occur. They include, but are not limited to: property loss or damage, broken bones, torn
ligaments, concussions, exposure, heat - related illness, mental stress or exhaustion, infection, and
concussions. Catastrophic injuries are rare; however, we feel that our participants and their parents
should be aware that they could occur. These injuries can include but are not limited to permanent
disabilities, spinal injuries and paralysis, stroke, heart attack, amputation and even death.
I understand fully the inherent risks of my minor(s) participating in the Mini Mudder Area as well as the
inherent risks in connection with the Mini Mudder Area. I have read the preceding paragraphs and
acknowledge that I know, understand, and appreciate the risks. I hereby g iv e my full c o n s e n t a n d
app r o v a l f o r my mi n o r ( s ) t o participate in t h e Mini Mudder Area a n d assert that I knowingly
assume all of the inherent risks of the activity and take full responsibility for supervision in addition to all
damages, liabilities, losses, or expenses that I or my minor(s) incur(s) as a result of my or my minor(s)
presence in the Mini Mudder Area.
Waiver of Liability for ORDINARY NEGLIGENCE:
In consideration of my minor(s) being permitted to be a participant in the Mini Mudder Area, I (on behalf of
the Releasing Parties) hereby forever waive, release, covenant not to sue, and discharge Tough Mudder
INCORPORATED and the other Released Parties from any and all claims, suits, damages, liabilities,
costs, losses or expenses resulting from the INHERENT RISKS of the Mini Mudder Area or the
ORDINARY NEGLIGENCE of Tough Mudder (hereafter used when referring to the corporate entity Tough
Mudder Incorporated and other Released Parties) that I or my minor(s) may have arising out of my or my
minor(s) presence at the Mini Mudder Area.
Indemnification Agreement:
In consideration of being permitted to attend the Mini Mudder Area and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged , I hereby agree to hold
harmless, defend and indemnify Tough Mudder (and the other Released Parties) from and againstany
and all claims of co-participants, co-spectators, rescuers, and others arising from my o r m y minor ( s )
conduct in the Mini Mudder Area. For the purposes hereof, “claims” includes all actions and causes of
action, claims, demands, losses, costs, expenses and damages, including legal fees and related
expenses. This indemnity shall survive the expiration or sooner termination of the Tough Mudder Event or
Mini Mudder Event.
Other Agreements:
If, despite the overriding mediation and arbitration provision I agree to below, legal action proceeds in a
court of law, the appropriate state or federal trial court of Delaware has the sole and exclusive jurisdiction
and that only the substantive laws of Delaware shall apply.
I assert that this Agreement is intended to be as broad and inclusive as is permitted by law in the State of
Delaware and that if any provision shall be found to be unlawful, void, or for any reason unenforceable,
then the remaining portions shall remain in full effect.
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I affirm that this Agreement supersedes any and all previous oral or written promises or agreements;
constitutes the entire agreement between me and Tough Mudder; and can be amended only by a written
document duly executed by myself and Tough Mudder.
In the event of a legal issue, I agree to engage in good faith efforts to mediate any dispute that might
arise. Any agreement reached will be formalized by a written contractual agreement at that time. Should
the issue not be resolved by mediation, I agree that all disputes, controversies, or claims arising out of or
relating to my presence at the Tough Mudder Event shall be submitted to binding arbitration in
accordance with the applicable rules of the American Arbitration Association then in effect. The cost of
such action shall be shared equally by the parties. I further acknowledge and agree that any question,
issue, or dispute as to the arbitrability of any dispute, controversy, or claim arising out of my participation
in the Tough Mudder Event, will be submitted to an arbitrator in accordance with the applicable rules of
the American Arbitration Association (AAA) then in effect. The Arbitration Rules of the AAA are available
on-line atwww.adr.org.
I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs
I agree to dress myself and my minor(s) appropriately so as to mitigate risk of physical injury to myself or
my minor(s) including, but not limited to: wearing shoes appropriate for strenuous physical activity
involved in the Mini Mudder Area; and dressing in conjunction with the weather.
I agree that I have authority to act on behalf of my minor(s) attending the Tough Mudder Event.
Specific Rules and Limitations for Mini Mudder:
Limitations to Minor Participants and Their Parents: I understand that my Spectator ticket fee grants me
permission to be a spectator with my minor(s) in the Mini Mudder Area. I understand that this DOES NOT
GRANT ME OR MY MINOR(S) PERMISSION TO PARTICIPATE in the adult Tough Mudder Event. I
affirm that I have not paid the fee required to participate in the adult Tough Mudder Event and recognize
that should either I or my minor(s) participate in any part of the adult Tough Mudder Event, Tough Mudder
will eject me from the premises immediately and will, under no circumstances, be held responsible or
liable for any injury which either I or my minor(s) may suffer while participating illegally.
Health-Related Permissions by Spectators: In the event of an injury or illness that renders me or my
minor(s) unconscious or incapable of making a medical decision, I authorize appropriate Tough Mudder
personnel and emergency medical personnel at the event to make emergency medical decisions on my
an d m y min o r’s behalf (including, but not limited to CPR and AED). I further authorize Tough Mudder to
secure necessary emergency medical care or transportation (i.e., EMS) and I agree to assume all costs of
emergency medical care and transportation
I acknowledge and fully understand that the minor(s) for whom I execute this document may engage only
in activities related to the Mini Mudder Area or the base area features, and that such activities involve risk
of serious injury, as described above, and severe social and economic losses which might result not only
from the minor’s own acts, omissions, or negligence but also from the acts, omissions, or negligence of
others, and further acknowledge that there may be other risks not known to me or reasonably foreseeable
at this time.
I acknowledge and fully understand that the minor(s) for whom I execute this document will not be subject
to supervision by the employees or agents of Tough Mudder and that I will be responsible for supervising
the above named minor in their use of the Mini Mudder Area.
I attest that, if I (or my minor(s)) am pregnant, disabled in any way, or have recently suffered an illness,
injury, or impairment, I (or my minor(s)) should have or did consult a physician prior to participating in the
Mini Mudder Area.
I assume all risks and hazards incidental to participation in the Mini Mudder Area, and I hereby waive,
release, absolve, indemnify, and agree to hold harmless the Released Parties for any claim arising or of
an injury to my minor(s) and from any and all liability, claims, actions, demands, expenses, attorney fees,
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breach of contract actions, breach of statutory duty or other duty of care, warranty, strict liability actions,
and causes of action whatsoever arising out of or connected with my minor’s participation in the Mini
Mudder Area. I attest that the minor(s) for whom I execute this document, the above-named participant(s),
is/are a minimum of seven (7) years of age and a maximum of thirteen (13) years of age as of the date of
the Tough Mudder Event.
I have evaluated the ability of my minor(s) to be present in the Mini Mudder Area, based on prior
experience with my minor(s) in similar situations.
Rules: I specifically acknowledge and agree to abide by the following rules: 1) children may not be left
unsupervised by their parents or guardians at any time while participating in the Mini Mudder Area 2) no
urination or defecation is permitted outside of designated areas; 3) no non medically-necessary wheeled
conveyances or non-service animals are allowed in the Mini Mudder Area at any time; 4) no clothing,
props or equipment that pose an unnecessary risk to participants, spectators or personnel are permitted;
and 5) obey civil and criminal laws including traffic laws.
Emergency Delay or Cancellation: I acknowledge that Tough Mudder at its sole discretion may delay,
modify, or cancel the TM Event if conditions beyond the control of Tough Mudder, or natural or man-made
emergencies beyond the control of Tough Mudder, make administering the event unreasonably difficult or
unsafe. I agree that “emergency” includes but is not limited to: high wind, extreme rain or hail, hurricane,
tornado, earthquake, flood, acts of terrorism, fire, threatened or actual strike, labor difficulty or work
stoppage, insurrection, war, public disaster, and unavoidable casualty. In the event of a delay,
modification, or cancellation of the TM Event as described in this paragraph, I understand that I will not be
entitled to a refund of my entry fee or any other costs incurred in connection with the TM Event. I further
understand and agree that the terms of this waiver shall apply to any newly rescheduled date or location.
Photography: I understand that any and all photographs, motion pictures, recordings, and/or likenesses of
me and the minor(s) for whom I execute this document captured during the Tough Mudder Event by
Tough Mudder, its affiliated entities or contractors, and/or the media become the sole property of Tough
Mudder. I grant the right, permission and authority to Tough Mudder and its designees to use my and the
minor(s)’ for whom I execute this document name(s) and any such photographs, motion pictures,
recordings, and/or likenesses for any legitimate purpose, including but not limited to promoting,
advertising, and marketing activities. I further understand that Tough Mudder and its designees have the
full right to sell and/or profit from the commercial use of such photographs, motion pictures, recordings,
and/or likenesses.
Majority Age: I affirm that I have reached majority age (or will have reached that age by the date of the
Tough Mudder Event). Majority age is 18 in all states except Alabama (age 19), Missouri (age 19),
Nebraska (age 19), Mississippi (age 21). I further affirm that my participating minor(s) is at least 7 years
old and at least 42’’ tall.
I AFFIRM THAT I AM THE PARENT OR LEGAL GUARDIAN OF THE MINOR PARTICIPANT(S) LISTED
BELOW AND HAVE THE AUTHORIZATION TO PERMIT THE MINOR PARTICIPANT(S) TO
UNDERTAKE THE ACTIVITIES DESCRIBED ABOVE.
Acknowledgment of Understanding:
I have read this Parental/Guardian Consent and Legal Liability Agreement and fully understand its terms.
I understand that I am giving up substantial rights for myself, my minor(s), and any other parents, or legal
guardians of my minor(s) including my and their right to sue. I further acknowledge that I am freely and
voluntarily accepting the terms of the Agreement and permitting my minor(s) to participate in the Mini
Mudder Area, and intend my electronic signature to be a complete and unconditional release of all liability
due to ORDINARY NEGLIGENCE of Tough Mudder or the INHERENT RISKS of the activity, to the
greatest extent allowed by law in Delaware.

DEL - Data Consent & Online and Onsite Spectator Waiver
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I am hereby consenting (and if the personal information submitted herein is of a minor below the age of
18, I am hereby consenting, and am lawfully permitted to consent, on his/her behalf) that Tough Mudder
Incorporated, on behalf of itself and its affiliated entities, can process my personal data for the purpose of
marketing, operating promoting, and informing me of its event series and related businesses. Subject to
applicable law and Tough Mudder policies, I am aware that I may withdraw my consent at any time by
using the data subject consent withdrawal process found in our legal terms and conditions (the link is
found on the footer of the Tough Mudder homepage).
READ THIS DOCUMENT CAREFULLY BEFORE AGREEING TO ITS TERMS. THIS DOCUMENT HAS
LEGAL CONSEQUENCES AND MAY AFFECT YOUR LEGAL RIGHTS AND MAY ELIMINATE YOUR
ABILITY TO BRING FUTURE LEGAL ACTIONS. SPECTATORS READ WAIVER #2, MINI MUDDERS
READ WAIVER #3.
wAIVER #2: Spectator Legal Liability Agreement
Spectators: READ THIS DOCUMENT CAREFULLY BEFORE AGREEING TO ITS TERMS. THIS
DOCUMENT HAS LEGAL CONSEQUENCES AND MAY AFFECT YOUR LEGAL RIGHTS AND MAY
ELIMINATE YOUR ABILITY TO BRING FUTURE LEGAL ACTIONS. IF YOU ARE A PARENT OR
GUARDIAN OF A SPECTATOR UNDER THE AGE OF 18 WHO IS ATTENDING THE TOUGH MUDDER
EVENT WITH YOU, BY AGREEING TO THIS DOCUMENT, YOU HEREBY AGREE TO THE TERMS OF
THIS DOCUMENT ON THEIR BEHALF AND GIVE APPROVAL FOR YOUR CHILD'S ATTENDANCE AT
THE TOUGH MUDDER EVENT.
Released Parties include TOUGH MUDDER INCORPORATED and its directors, officers, employees,
agents, contractors, insurers, participants, spectators, equipment suppliers, and volunteers; VENUE and
its directors, officers, employees, agents, contractors, insurers, equipment suppliers, and volunteers; all
TOUGH MUDDER INCORPORATED event sponsors, organizers, promoters, directors, officials, property
owners, and advertisers; governmental bodies and/or municipal agencies whose property and/or
personnel are used; and any or all parent, predecessor, subsidiary or affiliate companies, licensees,
officers, directors, partners, board members, supervisors, insurers, agents, equipment suppliers, and
representatives of any of the foregoing.
Releasing Parties include: the spectator as well as his or her spouse, children, parents, guardians, heirs,
next of kin, and any legal or personal representatives, executors, administrators, successors and assigns,
or anyone else who might claim or sue on the spectator’s behalf.
Assumption of Inherent Risks:
The TM Event (hereafter used to refer to the appropriate Tough Mudder, Tougher Mudder, Toughest
Mudder, World’s Toughest Mudder or Tough Mudder 5k or other Tough Mudder operated event) is a
hazardous activity that takes place in a dangerous and hostile environment. Some of the activities include
runs, military style obstacles, going through pipes, traversing cargo nets, climbing walls, encountering
electric voltage and fire, swimming in cold water, throwing, carrying, or getting hit with heavy objects, and
traversing muddy areas. The environment, the activities, and the competitive efforts of the participants
can put spectators at serious risk of injury. Spectators will also have the opportunity to participate in base
area features. These base area features, like the course, carry inherent risks. Some of the inherent risks
to spectators on both the course and base area include, but are not limited to contact or collision with 1)
persons or objects (e.g., collision with other spectators, course personnel, participants), motor vehicles or
machinery, and natural or man-made fixed objects or obstacles; 2) obstacles (e.g., natural and man-made
water, road and surface hazards, close proximity and/or contact with thick smoke and open flames,
barbed wire, pipes, and electric shocks); 3) weather-related hazards (e.g., extreme heat, extreme cold,
humidity, ice, rain, fog); 4) inadequate first aid and/or emergency measures; 5) judgment- and/or
behavior-related problems (e.g., erratic or inappropriate behavior by participants, personnel, or other
spectators, and errors in judgment by personnel working the event); and 6) natural hazards (e.g., uneven
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terrain, rock falls, lightning strikes, earthquakes, wildlife attacks, contact with poisonous plants, marine life
and/or ticks).
I further understand and acknowledge that any of these risks and others, not specifically named, may
cause injury or injuries that may be categorized as minor, serious, or catastrophic. Common minor injuries
include, but are not limited to: scrapes, bruises, sprains, strains, muscle tension and soreness, nausea,
cuts, sunburn, abrasions, grazes, lacerations, and contusions. Less common serious injuries also
sometimes occur. They include but are not limited to property loss or damage, broken bones, fractures,
torn or strained ligaments and tendons, concussions, exposure, dehydration, heat exhaustion and other
heat-related illnesses, mental stress or exhaustion, infection, vomiting, dislocations, hyperthermia,
hypothermia, anemia, electrolyte imbalance, loss of consciousness, syncope, dizziness, fainting,
seizures, electric shock and/or injury, and neurological disorders/pain. Catastrophic injuries are rare;
however, we feel that our spectators should be aware that they could occur. These injuries can include
but are not limited to permanent disabilities, spinal injuries and paralysis, stroke, heart attack, and even
death.
I further understand and acknowledge that the TM Event may contain obstacles with electrically charged
wiring and fencing. During this event I may be exposed to such electrically charged live wiring. I
understand and acknowledge that exposure to such electrically charged objects may directly cause or
contribute to bodily injury. These injuries may be serious and permanent. The injuries include, but are not
limited to: skin irritation, electrical burns, muscle spasm, muscle contraction, single or multiple organ
failure, eye injuries including cataracts and temporary or permanent blindness, cardiac arrest, amputation,
heart attack, disruption of normal cardiac rhythm, bleeding, muscular swelling, decreased blood flow to
extremities, loss of consciousness, coma, seizure, spinal cord injury, fracture, injury to ligaments,
paralysis, stroke muscle weakness, neurological disorder, tingling sensations, infection, muscle
breakdown or destruction, depression, anxiety, aggressive behavior, ulcer, pneumonia, sepsis, and even
death.
I understand fully the inherent risks of a being a spectator for a TM Event. I have read the preceding
paragraphs and acknowledge that I know, understand, and appreciate the risks of being a spectator. I
hereby assert that I knowingly assume all of the inherent risks of the activity and take full responsibility for
any and all damages, liabilities, losses, or expenses that I incur as a result of my presence at the TM
Event.
Waiver of Liability for ORDINARY NEGLIGENCE:
In consideration of being permitted to be a spectator in the TM Event, I (on behalf of the Releasing
Parties) hereby forever waive, release, covenant not to sue, and discharge Tough Mudder
INCORPORATED and the other Released Parties from any and all claims, suits, damages, liabilities,
costs, losses or expenses resulting from the INHERENT RISKS of the TM Event or the ORDINARY
NEGLIGENCE of Tough Mudder (hereafter used when referring to the corporate entity Tough Mudder
Incorporated and other Released Parties) that I may have arising out of my presence at the TM Event.
This Spectator Legal Liability Agreement applies to 1) personal injury (including death) from incidents or
illnesses arising from the TM Event participation, which includes injury during course inspection,
observation, the event, medical treatment, base area features and while on the premises (including, but
not limited to base area, stands, sidewalks, parking areas, sponsor promotions, restrooms, first-aid tents,
and dressing facilities); and 2) any and all of my claims relating to the TM Event, including but not limited
to, damaged, lost or stolen property, and both contractual and non-contractual claims.
Indemnification Agreement:
In consideration of being permitted to attend the TM Event and for other good and valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, I hereby agree to hold harmless, defend
and indemnify Tough Mudder (and the other Released Parties) from and against any and all claims of
co-spectators, rescuers, and others arising from my conduct in the course of my attending the TM Event.
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For the purposes hereof, “claims” includes all actions and causes of action, claims, demands, losses,
costs, expenses and damages, including legal fees and related expenses. This indemnity shall survive
the expiration or sooner termination of the TM Event.
Other Agreements:
If, despite the overriding mediation and arbitration provision I agree to below, legal action proceeds in a
court of law, the local state or federal court of Delaware has the exclusive jurisdiction and that only the
substantive laws of Delaware shall apply.
I assert that this Agreement is intended to be as broad and inclusive as is permitted by the State of
Delaware and that if any provision shall be found to be unlawful, void, or for any reason unenforceable,
then the remaining portions shall remain in full effect.
I affirm that this agreement supersedes any and all previous oral or written promises or agreements;
constitutes the entire agreement between me and Tough Mudder; and can be amended only by a written
document duly executed by all parties.
In the event of a legal issue, I agree to engage in good faith efforts to mediate any dispute that might
arise. Any agreement reached will be formalized by a written contractual agreement at that time. Should
the issue not be resolved by mediation, I agree that all disputes, controversies, or claims arising out of my
presence at the TM Event shall be submitted to binding arbitration in accordance with the applicable rules
of the American Arbitration Association then in effect. The Arbitration Rules of the American Arbitration
Association are available on-line at www.adr.org. The cost of such action shall be shared equally by the
parties.
I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs.
I agree that any arbitration, mediation or legal action shall proceed solely on an individual basis without
the right for any claims to be arbitrated on a class action basis or on bases involving claims brought in a
purported representative capacity on behalf of others. Claims may not be joined or consolidated unless
agreed to in writing by all parties.
Limitations to Spectators:
I understand that I have been granted permission to be a spectator for the TM Event. I understand that
this DOES NOT GRANT ME PERMISSION TO PARTICIPATE in any part of the TM Event. I will,
however, have the opportunity to participate in base area features. I affirm that I have not paid the fee
required to participate in the TM Event and recognize that should I participate in any activity, Tough
Mudder will eject me from the premises immediately and will, under no circumstances, be held
responsible or liable for any injury which I may suffer while participating illegally.
Health-Related Permissions by Spectators:
• I represent and warrant that I am/are in good health and in proper physical condition to safely participate
in the TM Event base area features. I certify that I have no known or knowable physical or mental
conditions that would affect my/our ability to safely participate in the TM Event base area features, or that
would result in my participation creating a risk of danger to myself (and/or my participating minor
child/ward) or to others.
• I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs and agree not to participate in a TM Event base area feature while under the influence of
alcohol and/or drugs.
• I acknowledge that Tough Mudder recommends and encourages each participant to get medical
clearance from his/her personal physician prior to participation. I assert that I have not been advised or
cautioned against participating in base area type features by a medical practitioner.
• I represent and warrant that I (and/or my participating minor child/ward) am/are covered by medical
insurance.
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• In the event of an injury or illness that renders me unconscious or incapable of making a medical
decision, I authorize appropriate Tough Mudder personnel and emergency medical personnel at the event
to make emergency medical decisions on my behalf (including, but not limited to CPR and AED). I further
authorize Tough Mudder to secure necessary emergency medical care or transportation (i.e., EMS) and I
agree to assume all costs of emergency medical care and transportation.
Entry and Participation Agreements:
Rules: I agree to become familiar with and abide by all written and/or posted rules of Tough Mudder, as
well as all written and/or posted rules of the Venue. I further agree to comply with all directions,
instructions and decisions of Tough Mudder and Venue personnel. I further agree not to challenge these
rules, directions, instructions, or decisions on any basis at any time.
Emergency Delay or Cancellation: I acknowledge that Tough Mudder at its sole discretion may delay,
modify, or cancel the TM Event if conditions beyond the control of Tough Mudder, or natural or man-made
emergencies beyond the control of Tough Mudder, make administering the event unreasonably difficult or
unsafe. I agree that “emergency” includes but is not limited to: high wind, extreme rain or hail, hurricane,
tornado, earthquake, flood, acts of terrorism, fire, threatened or actual strike, labor difficulty or work
stoppage, insurrection, war, public disaster, and unavoidable casualty. In the event of a delay,
modification, or cancellation of the TM Event as described in this paragraph, I understand that I will not be
entitled to a refund of my entry fee or any other costs incurred in connection with the TM Event. I further
understand and agree that the terms of this waiver shall apply to any newly rescheduled date or location.
Govern Participation: I understand that Tough Mudder has the authority to issue instructions or directions
relating to the manner of my safe participation in the Course or Related Activities and the authority to halt
my participation in the TM Event or Related Activities at any time they deem it necessary to protect the
safety of participants, spectators, and personnel; and/or promote fairness and the spirit of Tough Mudder.
Removal from Course: I understand that Tough Mudder and Venue personnel may immediately cause
anyone who disobeys any rules, directions, instructions, decisions, or laws, or whose behavior endangers
safety or negatively affects a person, facility, or property of any type or kind, to be removed from the
Course.
Fee Refunds: I understand that all fees and associated costs (including optional product purchases,
spectator tickets, and donations), paid in registration for this TM Event are not refundable for any reason
under any circumstances, including but not limited to injury, a scheduling conflict, and/or event
cancellation.
Military: I understand that active duty or deployed military participants may be entitled to a refund on a
case-by-case basis upon providing sufficient, official documentation regarding the deployment that
conflicts with participating in the event.
Attitude and Behavior: I also agree to exhibit appropriate behavior at all times; demonstrate respect for all
people, equipment, and facilities; and participate with a cooperative and positive attitude.
Alcohol & Drugs: I certify that I am not, and on the date of the TM Event will not be, under the influence of
alcohol or any non-prescription drugs that would in any way impair my ability to safely participate in the
TM Event or base area features. I further understand that the consumption any alcohol and any illicit or
illegal drugs or substances during the event is strictly prohibited. Tough Mudder will only allow the
responsible consumption of alcohol after the TM Event. I agree to take full responsibility for any alcohol
consumption at the TM Event.
Specific Rules: I specifically acknowledge and agree to abide by the following rules: 1) no urination or
defecation is permitted outside of designated areas; 2) no non-medically necessary wheeled
conveyances or non-service animals are allowed on the Course at any time; 3) no clothing, props or
equipment that pose an unnecessary risk to participants, spectators or personnel are permitted; and 4)
obey civil and criminal laws including traffic laws.
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Photography: I understand that any and all photographs, motion pictures, recordings, and/or likenesses of
me captured during the TM Event by Tough Mudder, its affiliated entities or contractors, and/or the media
become the sole property of Tough Mudder. I grant the right, permission and authority to Tough Mudder
and its designees to use my name and any such photographs, motion pictures, recordings, and/or
likenesses for any legitimate purpose, including but not limited to promoting, advertising, and marketing
activities. I further understand that Tough Mudder and its designees have the full right to sell and/or profit
from the commercial use of such photographs, motion pictures, recordings, and/or likenesses.
Majority Age: I affirm that I have reached majority age (or will have reached that age by the date of the
TM Event.Majority age is 18 in all states except Alabama (age 19), Missouri (age 19), Nebraska (age 19),
Mississippi (age 21).
Acknowledgment of Understanding:
I have read this Spectator Legal Liability Agreement, and Indemnification Agreement and fully understand
its terms. I understand that I am giving up substantial rights for myself and my children or wards, including
my and their right to sue. I further acknowledge that I am freely and voluntarily accepting the terms of the
agreement and participating as a spectator, and intend my electronic signature to be a complete and
unconditional release of all liability due to ORDINARY NEGLIGENCE of Tough Mudder or the INHERENT
RISKS of the activity, to the greatest extent allowed by law in Delaware.
WAIVER #3: MINI MUDDER
PARENTAL/GUARDIAN CONSENT AND LEGAL LIABILITY AGREEMENT
PARENTS/GUARDIANS OF MINOR PARTICIPANTS: READ THIS DOCUMENT CAREFULLY BEFORE
AGREEING TO ITS TERMS. THIS DOCUMENT HAS LEGAL CONSEQUENCES AND MAY AFFECT
YOUR AND YOUR MINOR’S LEGAL RIGHTS, AND MAY ELIMINATE YOUR ABILITY TO BRING
FUTURE LEGAL ACTIONS. AS THE PARENT OR GUARDIAN OF A MINOR UNDER THE AGE OF 18
WHO IS ATTENDING THE TOUGH MUDDER EVENT WITH YOU, BY AGREEING TO THIS
DOCUMENT, YOU HEREBY AGREE TO THE TERMS OF THIS DOCUMENT ON THEIR BEHALF AND
GIVE APPROVAL FOR THE MINOR’S PARTICIPATION IN THE MINI MUDDER AREA AT THE TOUGH
MUDDER EVENT (“TOUGH MUDDER EVENT” INCLUDES THE MINI MUDDER EVENT) UNDER YOUR
DIRECT SUPERVISION.
Released Parties include Tough Mudder Incorporated and its directors, officers, employees, agents,
contractors, insurers, spectators, equipment suppliers, and volunteers; VENUE and their officers,
employees, agents, contractors, insurers, equipment suppliers, and volunteers; all Tough Mudder event
sponsors, organizers, promoters, directors, officials, property owners, and advertisers; governmental
bodies and/or municipal agencies whose property and/or personnel are used; and any or all parent,
subsidiary or affiliate companies, licensees, officers, directors, partners, board members, supervisors,
insurers, agents, equipment suppliers, and representatives of any of the foregoing (hereinafter jointly
“Tough Mudder”)
Releasing Parties include: the parent/guardian, his or her minor(s) participating in the Mini Mudder Area,
and the parent/guardian’s spouse, children, parents, guardians, heirs, next of kin, and any legal or
personal representatives, executors, administrators, successors and assigns, or anyone else who might
claim or sue on behalf of the minor(s) participating in the Mini Mudder Area’s behalf and anyone who
might claim or sue on behalf of the parent/guardian.
Assumption of Inherent Risks:
The Mini Mudder Area is a part of the overall Tough Mudder Event and is a hazardous activity in a
dangerous environment. Some of the activities include, but are not li mi ted to runs, traversing pipes,
cargo nets and muddy areas, and climbing walls. The environment, the activities, and the efforts of
participants can put other participants at serious risk of injury. Some of the inherent risks to participants
include, but are not limited to contact or collision with 1) persons or objects (e.g., other participants,
course personnel, spectators), motor vehicles or machinery, and natural or man-made fixed objects or
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obstacles; 2) obstacles (e.g., natural and man-made water, road and surface hazards, and pipes); 3)
weather-related hazards (e.g., extreme heat, extreme cold, humidity, ice, rain, fog); 4) inadequate first aid
and/or emergency measures; 5) judgment and/or behavior-related problems (e.g., erratic or inappropriate
behavior by participants, personnel, or spectators, and errors in judgment by personnel working the
event); and 6) natural hazards (e.g. uneven terrain, rock falls, lightning strikes, earthquakes, wildlife
attacks, poisonous plants, marine life and/or ticks). I understand, agree, and accept that some of the
obstacles my minor(s) may go through contain water that has not been tested for chemicals, disease, or
other contamination. My child will not dive head first into a mud pit.
This Parent/Guardian Consent and Legal Liability Agreement applies to 1) personal injury (including
death) from incidents or illnesses arising from the Mini Mudder, which includes injury during course
inspection, observation, the event, and while on the premises (including, but not limited to stands,
sidewalks, parking areas, restrooms, and dressing facilities); and 2) any and all of my claims relating to
the TM Event, including but not limited to, damaged, lost or stolen of property, and both contractual and
non-contractual claims
I further understand and acknowledge that any of these risks and others, not specifically named, may
cause injury or injuries that may be categorized as minor, serious, or catastrophic. Common minor injuries
include, but are not limited to: scrapes, bruises, sprains, nausea, and cuts. Less common serious injuries
also sometimes occur. They include, but are not limited to: property loss or damage, broken bones, torn
ligaments, concussions, exposure, heat - related illness, mental stress or exhaustion, infection, and
concussions. Catastrophic injuries are rare; however, we feel that our participants and their parents
should be aware that they could occur. These injuries can include but are not limited to permanent
disabilities, spinal injuries and paralysis, stroke, heart attack, amputation and even death.
I understand fully the inherent risks of my minor(s) participating in the Mini Mudder Area as well as the
inherent risks in connection with the Mini Mudder Area. I have read the preceding paragraphs and
acknowledge that I know, understand, and appreciate the risks. I hereby g iv e my full c o n s e n t a n d
app r o v a l f o r my mi n o r ( s ) t o participate in t h e Mini Mudder Area a n d assert that I knowingly
assume all of the inherent risks of the activity and take full responsibility for supervision in addition to all
damages, liabilities, losses, or expenses that I or my minor(s) incur(s) as a result of my or my minor(s)
presence in the Mini Mudder Area.
Waiver of Liability for ORDINARY NEGLIGENCE:
In consideration of my minor(s) being permitted to be a participant in the Mini Mudder Area, I (on behalf of
the Releasing Parties) hereby forever waive, release, covenant not to sue, and discharge Tough Mudder
INCORPORATED and the other Released Parties from any and all claims, suits, damages, liabilities,
costs, losses or expenses resulting from the INHERENT RISKS of the Mini Mudder Area or the
ORDINARY NEGLIGENCE of Tough Mudder (hereafter used when referring to the corporate entity Tough
Mudder Incorporated and other Released Parties) that I or my minor(s) may have arising out of my or my
minor(s) presence at the Mini Mudder Area.
Indemnification Agreement:
In consideration of being permitted to attend the Mini Mudder Area and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged , I hereby agree to hold
harmless, defend and indemnify Tough Mudder (and the other Released Parties) from and againstany
and all claims of co-participants, co-spectators, rescuers, and others arising from my o r m y minor ( s )
conduct in the Mini Mudder Area. For the purposes hereof, “claims” includes all actions and causes of
action, claims, demands, losses, costs, expenses and damages, including legal fees and related
expenses. This indemnity shall survive the expiration or sooner termination of the Tough Mudder Event or
Mini Mudder Event.
Other Agreements:
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If, despite the overriding mediation and arbitration provision I agree to below, legal action proceeds in a
court of law, the appropriate state or federal trial court of Delaware has the sole and exclusive jurisdiction
and that only the substantive laws of Delaware shall apply.
I assert that this Agreement is intended to be as broad and inclusive as is permitted by law in the State of
Delaware and that if any provision shall be found to be unlawful, void, or for any reason unenforceable,
then the remaining portions shall remain in full effect.
I affirm that this Agreement supersedes any and all previous oral or written promises or agreements;
constitutes the entire agreement between me and Tough Mudder; and can be amended only by a written
document duly executed by myself and Tough Mudder.
In the event of a legal issue, I agree to engage in good faith efforts to mediate any dispute that might
arise. Any agreement reached will be formalized by a written contractual agreement at that time. Should
the issue not be resolved by mediation, I agree that all disputes, controversies, or claims arising out of or
relating to my presence at the Tough Mudder Event shall be submitted to binding arbitration in
accordance with the applicable rules of the American Arbitration Association then in effect. The cost of
such action shall be shared equally by the parties. I further acknowledge and agree that any question,
issue, or dispute as to the arbitrability of any dispute, controversy, or claim arising out of my participation
in the Tough Mudder Event, will be submitted to an arbitrator in accordance with the applicable rules of
the American Arbitration Association (AAA) then in effect. The Arbitration Rules of the AAA are available
on-line atwww.adr.org.
I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs
I agree to dress myself and my minor(s) appropriately so as to mitigate risk of physical injury to myself or
my minor(s) including, but not limited to: wearing shoes appropriate for strenuous physical activity
involved in the Mini Mudder Area; and dressing in conjunction with the weather.
I agree that I have authority to act on behalf of my minor(s) attending the Tough Mudder Event.
Specific Rules and Limitations for Mini Mudder:
Limitations to Minor Participants and Their Parents: I understand that my Spectator ticket fee grants me
permission to be a spectator with my minor(s) in the Mini Mudder Area. I understand that this DOES NOT
GRANT ME OR MY MINOR(S) PERMISSION TO PARTICIPATE in the adult Tough Mudder Event. I
affirm that I have not paid the fee required to participate in the adult Tough Mudder Event and recognize
that should either I or my minor(s) participate in any part of the adult Tough Mudder Event, Tough Mudder
will eject me from the premises immediately and will, under no circumstances, be held responsible or
liable for any injury which either I or my minor(s) may suffer while participating illegally.
Health-Related Permissions by Spectators: In the event of an injury or illness that renders me or my
minor(s) unconscious or incapable of making a medical decision, I authorize appropriate Tough Mudder
personnel and emergency medical personnel at the event to make emergency medical decisions on my
an d m y min o r’s behalf (including, but not limited to CPR and AED). I further authorize Tough Mudder to
secure necessary emergency medical care or transportation (i.e., EMS) and I agree to assume all costs of
emergency medical care and transportation
I acknowledge and fully understand that the minor(s) for whom I execute this document may engage only
in activities related to the Mini Mudder Area or the base area features, and that such activities involve risk
of serious injury, as described above, and severe social and economic losses which might result not only
from the minor’s own acts, omissions, or negligence but also from the acts, omissions, or negligence of
others, and further acknowledge that there may be other risks not known to me or reasonably foreseeable
at this time.
I acknowledge and fully understand that the minor(s) for whom I execute this document will not be subject
to supervision by the employees or agents of Tough Mudder and that I will be responsible for supervising
the above named minor in their use of the Mini Mudder Area.
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I attest that, if I (or my minor(s)) am pregnant, disabled in any way, or have recently suffered an illness,
injury, or impairment, I (or my minor(s)) should have or did consult a physician prior to participating in the
Mini Mudder Area.
I assume all risks and hazards incidental to participation in the Mini Mudder Area, and I hereby waive,
release, absolve, indemnify, and agree to hold harmless the Released Parties for any claim arising or of
an injury to my minor(s) and from any and all liability, claims, actions, demands, expenses, attorney fees,
breach of contract actions, breach of statutory duty or other duty of care, warranty, strict liability actions,
and causes of action whatsoever arising out of or connected with my minor’s participation in the Mini
Mudder Area. I attest that the minor(s) for whom I execute this document, the above-named participant(s),
is/are a minimum of seven (7) years of age and a maximum of thirteen (13) years of age as of the date of
the Tough Mudder Event.
I have evaluated the ability of my minor(s) to be present in the Mini Mudder Area, based on prior
experience with my minor(s) in similar situations.
Rules: I specifically acknowledge and agree to abide by the following rules: 1) children may not be left
unsupervised by their parents or guardians at any time while participating in the Mini Mudder Area 2) no
urination or defecation is permitted outside of designated areas; 3) no non medically-necessary wheeled
conveyances or non-service animals are allowed in the Mini Mudder Area at any time; 4) no clothing,
props or equipment that pose an unnecessary risk to participants, spectators or personnel are permitted;
and 5) obey civil and criminal laws including traffic laws.
Emergency Delay or Cancellation: I acknowledge that Tough Mudder at its sole discretion may delay,
modify, or cancel the TM Event if conditions beyond the control of Tough Mudder, or natural or man-made
emergencies beyond the control of Tough Mudder, make administering the event unreasonably difficult or
unsafe. I agree that “emergency” includes but is not limited to: high wind, extreme rain or hail, hurricane,
tornado, earthquake, flood, acts of terrorism, fire, threatened or actual strike, labor difficulty or work
stoppage, insurrection, war, public disaster, and unavoidable casualty. In the event of a delay,
modification, or cancellation of the TM Event as described in this paragraph, I understand that I will not be
entitled to a refund of my entry fee or any other costs incurred in connection with the TM Event. I further
understand and agree that the terms of this waiver shall apply to any newly rescheduled date or location.
Photography: I understand that any and all photographs, motion pictures, recordings, and/or likenesses of
me and the minor(s) for whom I execute this document captured during the Tough Mudder Event by
Tough Mudder, its affiliated entities or contractors, and/or the media become the sole property of Tough
Mudder. I grant the right, permission and authority to Tough Mudder and its designees to use my and the
minor(s)’ for whom I execute this document name(s) and any such photographs, motion pictures,
recordings, and/or likenesses for any legitimate purpose, including but not limited to promoting,
advertising, and marketing activities. I further understand that Tough Mudder and its designees have the
full right to sell and/or profit from the commercial use of such photographs, motion pictures, recordings,
and/or likenesses.
Majority Age: I affirm that I have reached majority age (or will have reached that age by the date of the
Tough Mudder Event). Majority age is 18 in all states except Alabama (age 19), Missouri (age 19),
Nebraska (age 19), Mississippi (age 21). I further affirm that my participating minor(s) is at least 7 years
old and at least 42’’ tall.
I AFFIRM THAT I AM THE PARENT OR LEGAL GUARDIAN OF THE MINOR PARTICIPANT(S) LISTED
BELOW AND HAVE THE AUTHORIZATION TO PERMIT THE MINOR PARTICIPANT(S) TO
UNDERTAKE THE ACTIVITIES DESCRIBED ABOVE.
Acknowledgment of Understanding:
I have read this Parental/Guardian Consent and Legal Liability Agreement and fully understand its terms.
I understand that I am giving up substantial rights for myself, my minor(s), and any other parents, or legal
guardians of my minor(s) including my and their right to sue. I further acknowledge that I am freely and
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voluntarily accepting the terms of the Agreement and permitting my minor(s) to participate in the Mini
Mudder Area, and intend my electronic signature to be a complete and unconditional release of all liability
due to ORDINARY NEGLIGENCE of Tough Mudder or the INHERENT RISKS of the activity, to the
greatest extent allowed by law in Delaware.

DEL - Data Consent & Online and Onsite Mini Mudder Waiver
I am hereby consenting (and if the personal information submitted herein is of a minor below the age of
18, I am hereby consenting, and am lawfully permitted to consent, on his/her behalf) that Tough Mudder
Incorporated, on behalf of itself and its affiliated entities, can process my personal data for the purpose of
marketing, operating promoting, and informing me of its event series and related businesses. Subject to
applicable law and Tough Mudder policies, I am aware that I may withdraw my consent at any time by
using the data subject consent withdrawal process found in our legal terms and conditions (the link is
found on the footer of the Tough Mudder homepage).
READ THIS DOCUMENT CAREFULLY BEFORE AGREEING TO ITS TERMS. THIS DOCUMENT HAS
LEGAL CONSEQUENCES AND MAY AFFECT YOUR LEGAL RIGHTS AND MAY ELIMINATE YOUR
ABILITY TO BRING FUTURE LEGAL ACTIONS. SPECTATORS READ WAIVER #2, MINI MUDDERS
READ WAIVER #3.
wAIVER #2: Spectator Legal Liability Agreement
Spectators: READ THIS DOCUMENT CAREFULLY BEFORE AGREEING TO ITS TERMS. THIS
DOCUMENT HAS LEGAL CONSEQUENCES AND MAY AFFECT YOUR LEGAL RIGHTS AND MAY
ELIMINATE YOUR ABILITY TO BRING FUTURE LEGAL ACTIONS. IF YOU ARE A PARENT OR
GUARDIAN OF A SPECTATOR UNDER THE AGE OF 18 WHO IS ATTENDING THE TOUGH MUDDER
EVENT WITH YOU, BY AGREEING TO THIS DOCUMENT, YOU HEREBY AGREE TO THE TERMS OF
THIS DOCUMENT ON THEIR BEHALF AND GIVE APPROVAL FOR YOUR CHILD'S ATTENDANCE AT
THE TOUGH MUDDER EVENT.
Released Parties include TOUGH MUDDER INCORPORATED and its directors, officers, employees,
agents, contractors, insurers, participants, spectators, equipment suppliers, and volunteers; VENUE and
its directors, officers, employees, agents, contractors, insurers, equipment suppliers, and volunteers; all
TOUGH MUDDER INCORPORATED event sponsors, organizers, promoters, directors, officials, property
owners, and advertisers; governmental bodies and/or municipal agencies whose property and/or
personnel are used; and any or all parent, predecessor, subsidiary or affiliate companies, licensees,
officers, directors, partners, board members, supervisors, insurers, agents, equipment suppliers, and
representatives of any of the foregoing.
Releasing Parties include: the spectator as well as his or her spouse, children, parents, guardians, heirs,
next of kin, and any legal or personal representatives, executors, administrators, successors and assigns,
or anyone else who might claim or sue on the spectator’s behalf.
Assumption of Inherent Risks:
The TM Event (hereafter used to refer to the appropriate Tough Mudder, Tougher Mudder, Toughest
Mudder, World’s Toughest Mudder or Tough Mudder 5k or other Tough Mudder operated event) is a
hazardous activity that takes place in a dangerous and hostile environment. Some of the activities include
runs, military style obstacles, going through pipes, traversing cargo nets, climbing walls, encountering
electric voltage and fire, swimming in cold water, throwing, carrying, or getting hit with heavy objects, and
traversing muddy areas. The environment, the activities, and the competitive efforts of the participants
can put spectators at serious risk of injury. Spectators will also have the opportunity to participate in base
area features. These base area features, like the course, carry inherent risks. Some of the inherent risks
to spectators on both the course and base area include, but are not limited to contact or collision with 1)
persons or objects (e.g., collision with other spectators, course personnel, participants), motor vehicles or
machinery, and natural or man-made fixed objects or obstacles; 2) obstacles (e.g., natural and man-made
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water, road and surface hazards, close proximity and/or contact with thick smoke and open flames,
barbed wire, pipes, and electric shocks); 3) weather-related hazards (e.g., extreme heat, extreme cold,
humidity, ice, rain, fog); 4) inadequate first aid and/or emergency measures; 5) judgment- and/or
behavior-related problems (e.g., erratic or inappropriate behavior by participants, personnel, or other
spectators, and errors in judgment by personnel working the event); and 6) natural hazards (e.g., uneven
terrain, rock falls, lightning strikes, earthquakes, wildlife attacks, contact with poisonous plants, marine life
and/or ticks).
I further understand and acknowledge that any of these risks and others, not specifically named, may
cause injury or injuries that may be categorized as minor, serious, or catastrophic. Common minor injuries
include, but are not limited to: scrapes, bruises, sprains, strains, muscle tension and soreness, nausea,
cuts, sunburn, abrasions, grazes, lacerations, and contusions. Less common serious injuries also
sometimes occur. They include but are not limited to property loss or damage, broken bones, fractures,
torn or strained ligaments and tendons, concussions, exposure, dehydration, heat exhaustion and other
heat-related illnesses, mental stress or exhaustion, infection, vomiting, dislocations, hyperthermia,
hypothermia, anemia, electrolyte imbalance, loss of consciousness, syncope, dizziness, fainting,
seizures, electric shock and/or injury, and neurological disorders/pain. Catastrophic injuries are rare;
however, we feel that our spectators should be aware that they could occur. These injuries can include
but are not limited to permanent disabilities, spinal injuries and paralysis, stroke, heart attack, and even
death.
I further understand and acknowledge that the TM Event may contain obstacles with electrically charged
wiring and fencing. During this event I may be exposed to such electrically charged live wiring. I
understand and acknowledge that exposure to such electrically charged objects may directly cause or
contribute to bodily injury. These injuries may be serious and permanent. The injuries include, but are not
limited to: skin irritation, electrical burns, muscle spasm, muscle contraction, single or multiple organ
failure, eye injuries including cataracts and temporary or permanent blindness, cardiac arrest, amputation,
heart attack, disruption of normal cardiac rhythm, bleeding, muscular swelling, decreased blood flow to
extremities, loss of consciousness, coma, seizure, spinal cord injury, fracture, injury to ligaments,
paralysis, stroke muscle weakness, neurological disorder, tingling sensations, infection, muscle
breakdown or destruction, depression, anxiety, aggressive behavior, ulcer, pneumonia, sepsis, and even
death.
I understand fully the inherent risks of a being a spectator for a TM Event. I have read the preceding
paragraphs and acknowledge that I know, understand, and appreciate the risks of being a spectator. I
hereby assert that I knowingly assume all of the inherent risks of the activity and take full responsibility for
any and all damages, liabilities, losses, or expenses that I incur as a result of my presence at the TM
Event.
Waiver of Liability for ORDINARY NEGLIGENCE:
In consideration of being permitted to be a spectator in the TM Event, I (on behalf of the Releasing
Parties) hereby forever waive, release, covenant not to sue, and discharge Tough Mudder
INCORPORATED and the other Released Parties from any and all claims, suits, damages, liabilities,
costs, losses or expenses resulting from the INHERENT RISKS of the TM Event or the ORDINARY
NEGLIGENCE of Tough Mudder (hereafter used when referring to the corporate entity Tough Mudder
Incorporated and other Released Parties) that I may have arising out of my presence at the TM Event.
This Spectator Legal Liability Agreement applies to 1) personal injury (including death) from incidents or
illnesses arising from the TM Event participation, which includes injury during course inspection,
observation, the event, medical treatment, base area features and while on the premises (including, but
not limited to base area, stands, sidewalks, parking areas, sponsor promotions, restrooms, first-aid tents,
and dressing facilities); and 2) any and all of my claims relating to the TM Event, including but not limited
to, damaged, lost or stolen property, and both contractual and non-contractual claims.
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Indemnification Agreement:
In consideration of being permitted to attend the TM Event and for other good and valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, I hereby agree to hold harmless, defend
and indemnify Tough Mudder (and the other Released Parties) from and against any and all claims of
co-spectators, rescuers, and others arising from my conduct in the course of my attending the TM Event.
For the purposes hereof, “claims” includes all actions and causes of action, claims, demands, losses,
costs, expenses and damages, including legal fees and related expenses. This indemnity shall survive
the expiration or sooner termination of the TM Event.
Other Agreements:
If, despite the overriding mediation and arbitration provision I agree to below, legal action proceeds in a
court of law, the local state or federal court of Delaware has the exclusive jurisdiction and that only the
substantive laws of Delaware shall apply.
I assert that this Agreement is intended to be as broad and inclusive as is permitted by the State of
Delaware and that if any provision shall be found to be unlawful, void, or for any reason unenforceable,
then the remaining portions shall remain in full effect.
I affirm that this agreement supersedes any and all previous oral or written promises or agreements;
constitutes the entire agreement between me and Tough Mudder; and can be amended only by a written
document duly executed by all parties.
In the event of a legal issue, I agree to engage in good faith efforts to mediate any dispute that might
arise. Any agreement reached will be formalized by a written contractual agreement at that time. Should
the issue not be resolved by mediation, I agree that all disputes, controversies, or claims arising out of my
presence at the TM Event shall be submitted to binding arbitration in accordance with the applicable rules
of the American Arbitration Association then in effect. The Arbitration Rules of the American Arbitration
Association are available on-line at www.adr.org. The cost of such action shall be shared equally by the
parties.
I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs.
I agree that any arbitration, mediation or legal action shall proceed solely on an individual basis without
the right for any claims to be arbitrated on a class action basis or on bases involving claims brought in a
purported representative capacity on behalf of others. Claims may not be joined or consolidated unless
agreed to in writing by all parties.
Limitations to Spectators:
I understand that I have been granted permission to be a spectator for the TM Event. I understand that
this DOES NOT GRANT ME PERMISSION TO PARTICIPATE in any part of the TM Event. I will,
however, have the opportunity to participate in base area features. I affirm that I have not paid the fee
required to participate in the TM Event and recognize that should I participate in any activity, Tough
Mudder will eject me from the premises immediately and will, under no circumstances, be held
responsible or liable for any injury which I may suffer while participating illegally.
Health-Related Permissions by Spectators:
• I represent and warrant that I am/are in good health and in proper physical condition to safely participate
in the TM Event base area features. I certify that I have no known or knowable physical or mental
conditions that would affect my/our ability to safely participate in the TM Event base area features, or that
would result in my participation creating a risk of danger to myself (and/or my participating minor
child/ward) or to others.
• I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs and agree not to participate in a TM Event base area feature while under the influence of
alcohol and/or drugs.
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• I acknowledge that Tough Mudder recommends and encourages each participant to get medical
clearance from his/her personal physician prior to participation. I assert that I have not been advised or
cautioned against participating in base area type features by a medical practitioner.
• I represent and warrant that I (and/or my participating minor child/ward) am/are covered by medical
insurance.
• In the event of an injury or illness that renders me unconscious or incapable of making a medical
decision, I authorize appropriate Tough Mudder personnel and emergency medical personnel at the event
to make emergency medical decisions on my behalf (including, but not limited to CPR and AED). I further
authorize Tough Mudder to secure necessary emergency medical care or transportation (i.e., EMS) and I
agree to assume all costs of emergency medical care and transportation.
Entry and Participation Agreements:
Rules: I agree to become familiar with and abide by all written and/or posted rules of Tough Mudder, as
well as all written and/or posted rules of the Venue. I further agree to comply with all directions,
instructions and decisions of Tough Mudder and Venue personnel. I further agree not to challenge these
rules, directions, instructions, or decisions on any basis at any time.
Emergency Delay or Cancellation: I acknowledge that Tough Mudder at its sole discretion may delay,
modify, or cancel the TM Event if conditions beyond the control of Tough Mudder, or natural or man-made
emergencies beyond the control of Tough Mudder, make administering the event unreasonably difficult or
unsafe. I agree that “emergency” includes but is not limited to: high wind, extreme rain or hail, hurricane,
tornado, earthquake, flood, acts of terrorism, fire, threatened or actual strike, labor difficulty or work
stoppage, insurrection, war, public disaster, and unavoidable casualty. In the event of a delay,
modification, or cancellation of the TM Event as described in this paragraph, I understand that I will not be
entitled to a refund of my entry fee or any other costs incurred in connection with the TM Event. I further
understand and agree that the terms of this waiver shall apply to any newly rescheduled date or location.
Govern Participation: I understand that Tough Mudder has the authority to issue instructions or directions
relating to the manner of my safe participation in the Course or Related Activities and the authority to halt
my participation in the TM Event or Related Activities at any time they deem it necessary to protect the
safety of participants, spectators, and personnel; and/or promote fairness and the spirit of Tough Mudder.
Removal from Course: I understand that Tough Mudder and Venue personnel may immediately cause
anyone who disobeys any rules, directions, instructions, decisions, or laws, or whose behavior endangers
safety or negatively affects a person, facility, or property of any type or kind, to be removed from the
Course.
Fee Refunds: I understand that all fees and associated costs (including optional product purchases,
spectator tickets, and donations), paid in registration for this TM Event are not refundable for any reason
under any circumstances, including but not limited to injury, a scheduling conflict, and/or event
cancellation.
Military: I understand that active duty or deployed military participants may be entitled to a refund on a
case-by-case basis upon providing sufficient, official documentation regarding the deployment that
conflicts with participating in the event.
Attitude and Behavior: I also agree to exhibit appropriate behavior at all times; demonstrate respect for all
people, equipment, and facilities; and participate with a cooperative and positive attitude.
Alcohol & Drugs: I certify that I am not, and on the date of the TM Event will not be, under the influence of
alcohol or any non-prescription drugs that would in any way impair my ability to safely participate in the
TM Event or base area features. I further understand that the consumption any alcohol and any illicit or
illegal drugs or substances during the event is strictly prohibited. Tough Mudder will only allow the
responsible consumption of alcohol after the TM Event. I agree to take full responsibility for any alcohol
consumption at the TM Event.
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Specific Rules: I specifically acknowledge and agree to abide by the following rules: 1) no urination or
defecation is permitted outside of designated areas; 2) no non-medically necessary wheeled
conveyances or non-service animals are allowed on the Course at any time; 3) no clothing, props or
equipment that pose an unnecessary risk to participants, spectators or personnel are permitted; and 4)
obey civil and criminal laws including traffic laws.
Photography: I understand that any and all photographs, motion pictures, recordings, and/or likenesses of
me captured during the TM Event by Tough Mudder, its affiliated entities or contractors, and/or the media
become the sole property of Tough Mudder. I grant the right, permission and authority to Tough Mudder
and its designees to use my name and any such photographs, motion pictures, recordings, and/or
likenesses for any legitimate purpose, including but not limited to promoting, advertising, and marketing
activities. I further understand that Tough Mudder and its designees have the full right to sell and/or profit
from the commercial use of such photographs, motion pictures, recordings, and/or likenesses.
Majority Age: I affirm that I have reached majority age (or will have reached that age by the date of the
TM Event.Majority age is 18 in all states except Alabama (age 19), Missouri (age 19), Nebraska (age 19),
Mississippi (age 21).
Acknowledgment of Understanding:
I have read this Spectator Legal Liability Agreement, and Indemnification Agreement and fully understand
its terms. I understand that I am giving up substantial rights for myself and my children or wards, including
my and their right to sue. I further acknowledge that I am freely and voluntarily accepting the terms of the
agreement and participating as a spectator, and intend my electronic signature to be a complete and
unconditional release of all liability due to ORDINARY NEGLIGENCE of Tough Mudder or the INHERENT
RISKS of the activity, to the greatest extent allowed by law in Delaware.
WAIVER #3: MINI MUDDER
PARENTAL/GUARDIAN CONSENT AND LEGAL LIABILITY AGREEMENT
PARENTS/GUARDIANS OF MINOR PARTICIPANTS: READ THIS DOCUMENT CAREFULLY BEFORE
AGREEING TO ITS TERMS. THIS DOCUMENT HAS LEGAL CONSEQUENCES AND MAY AFFECT
YOUR AND YOUR MINOR’S LEGAL RIGHTS, AND MAY ELIMINATE YOUR ABILITY TO BRING
FUTURE LEGAL ACTIONS. AS THE PARENT OR GUARDIAN OF A MINOR UNDER THE AGE OF 18
WHO IS ATTENDING THE TOUGH MUDDER EVENT WITH YOU, BY AGREEING TO THIS
DOCUMENT, YOU HEREBY AGREE TO THE TERMS OF THIS DOCUMENT ON THEIR BEHALF AND
GIVE APPROVAL FOR THE MINOR’S PARTICIPATION IN THE MINI MUDDER AREA AT THE TOUGH
MUDDER EVENT (“TOUGH MUDDER EVENT” INCLUDES THE MINI MUDDER EVENT) UNDER YOUR
DIRECT SUPERVISION.
Released Parties include Tough Mudder Incorporated and its directors, officers, employees, agents,
contractors, insurers, spectators, equipment suppliers, and volunteers; VENUE and their officers,
employees, agents, contractors, insurers, equipment suppliers, and volunteers; all Tough Mudder event
sponsors, organizers, promoters, directors, officials, property owners, and advertisers; governmental
bodies and/or municipal agencies whose property and/or personnel are used; and any or all parent,
subsidiary or affiliate companies, licensees, officers, directors, partners, board members, supervisors,
insurers, agents, equipment suppliers, and representatives of any of the foregoing (hereinafter jointly
“Tough Mudder”)
Releasing Parties include: the parent/guardian, his or her minor(s) participating in the Mini Mudder Area,
and the parent/guardian’s spouse, children, parents, guardians, heirs, next of kin, and any legal or
personal representatives, executors, administrators, successors and assigns, or anyone else who might
claim or sue on behalf of the minor(s) participating in the Mini Mudder Area’s behalf and anyone who
might claim or sue on behalf of the parent/guardian.
Assumption of Inherent Risks:
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The Mini Mudder Area is a part of the overall Tough Mudder Event and is a hazardous activity in a
dangerous environment. Some of the activities include, but are not li mi ted to runs, traversing pipes,
cargo nets and muddy areas, and climbing walls. The environment, the activities, and the efforts of
participants can put other participants at serious risk of injury. Some of the inherent risks to participants
include, but are not limited to contact or collision with 1) persons or objects (e.g., other participants,
course personnel, spectators), motor vehicles or machinery, and natural or man-made fixed objects or
obstacles; 2) obstacles (e.g., natural and man-made water, road and surface hazards, and pipes); 3)
weather-related hazards (e.g., extreme heat, extreme cold, humidity, ice, rain, fog); 4) inadequate first aid
and/or emergency measures; 5) judgment and/or behavior-related problems (e.g., erratic or inappropriate
behavior by participants, personnel, or spectators, and errors in judgment by personnel working the
event); and 6) natural hazards (e.g. uneven terrain, rock falls, lightning strikes, earthquakes, wildlife
attacks, poisonous plants, marine life and/or ticks). I understand, agree, and accept that some of the
obstacles my minor(s) may go through contain water that has not been tested for chemicals, disease, or
other contamination. My child will not dive head first into a mud pit.
This Parent/Guardian Consent and Legal Liability Agreement applies to 1) personal injury (including
death) from incidents or illnesses arising from the Mini Mudder, which includes injury during course
inspection, observation, the event, and while on the premises (including, but not limited to stands,
sidewalks, parking areas, restrooms, and dressing facilities); and 2) any and all of my claims relating to
the TM Event, including but not limited to, damaged, lost or stolen of property, and both contractual and
non-contractual claims
I further understand and acknowledge that any of these risks and others, not specifically named, may
cause injury or injuries that may be categorized as minor, serious, or catastrophic. Common minor injuries
include, but are not limited to: scrapes, bruises, sprains, nausea, and cuts. Less common serious injuries
also sometimes occur. They include, but are not limited to: property loss or damage, broken bones, torn
ligaments, concussions, exposure, heat - related illness, mental stress or exhaustion, infection, and
concussions. Catastrophic injuries are rare; however, we feel that our participants and their parents
should be aware that they could occur. These injuries can include but are not limited to permanent
disabilities, spinal injuries and paralysis, stroke, heart attack, amputation and even death.
I understand fully the inherent risks of my minor(s) participating in the Mini Mudder Area as well as the
inherent risks in connection with the Mini Mudder Area. I have read the preceding paragraphs and
acknowledge that I know, understand, and appreciate the risks. I hereby g iv e my full c o n s e n t a n d
app r o v a l f o r my mi n o r ( s ) t o participate in t h e Mini Mudder Area a n d assert that I knowingly
assume all of the inherent risks of the activity and take full responsibility for supervision in addition to all
damages, liabilities, losses, or expenses that I or my minor(s) incur(s) as a result of my or my minor(s)
presence in the Mini Mudder Area.
Waiver of Liability for ORDINARY NEGLIGENCE:
In consideration of my minor(s) being permitted to be a participant in the Mini Mudder Area, I (on behalf of
the Releasing Parties) hereby forever waive, release, covenant not to sue, and discharge Tough Mudder
INCORPORATED and the other Released Parties from any and all claims, suits, damages, liabilities,
costs, losses or expenses resulting from the INHERENT RISKS of the Mini Mudder Area or the
ORDINARY NEGLIGENCE of Tough Mudder (hereafter used when referring to the corporate entity Tough
Mudder Incorporated and other Released Parties) that I or my minor(s) may have arising out of my or my
minor(s) presence at the Mini Mudder Area.
Indemnification Agreement:
In consideration of being permitted to attend the Mini Mudder Area and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged , I hereby agree to hold
harmless, defend and indemnify Tough Mudder (and the other Released Parties) from and againstany
and all claims of co-participants, co-spectators, rescuers, and others arising from my o r m y minor ( s )
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conduct in the Mini Mudder Area. For the purposes hereof, “claims” includes all actions and causes of
action, claims, demands, losses, costs, expenses and damages, including legal fees and related
expenses. This indemnity shall survive the expiration or sooner termination of the Tough Mudder Event or
Mini Mudder Event.
Other Agreements:
If, despite the overriding mediation and arbitration provision I agree to below, legal action proceeds in a
court of law, the appropriate state or federal trial court of Delaware has the sole and exclusive jurisdiction
and that only the substantive laws of Delaware shall apply.
I assert that this Agreement is intended to be as broad and inclusive as is permitted by law in the State of
Delaware and that if any provision shall be found to be unlawful, void, or for any reason unenforceable,
then the remaining portions shall remain in full effect.
I affirm that this Agreement supersedes any and all previous oral or written promises or agreements;
constitutes the entire agreement between me and Tough Mudder; and can be amended only by a written
document duly executed by myself and Tough Mudder.
In the event of a legal issue, I agree to engage in good faith efforts to mediate any dispute that might
arise. Any agreement reached will be formalized by a written contractual agreement at that time. Should
the issue not be resolved by mediation, I agree that all disputes, controversies, or claims arising out of or
relating to my presence at the Tough Mudder Event shall be submitted to binding arbitration in
accordance with the applicable rules of the American Arbitration Association then in effect. The cost of
such action shall be shared equally by the parties. I further acknowledge and agree that any question,
issue, or dispute as to the arbitrability of any dispute, controversy, or claim arising out of my participation
in the Tough Mudder Event, will be submitted to an arbitrator in accordance with the applicable rules of
the American Arbitration Association (AAA) then in effect. The Arbitration Rules of the AAA are available
on-line atwww.adr.org.
I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs
I agree to dress myself and my minor(s) appropriately so as to mitigate risk of physical injury to myself or
my minor(s) including, but not limited to: wearing shoes appropriate for strenuous physical activity
involved in the Mini Mudder Area; and dressing in conjunction with the weather.
I agree that I have authority to act on behalf of my minor(s) attending the Tough Mudder Event.
Specific Rules and Limitations for Mini Mudder:
Limitations to Minor Participants and Their Parents: I understand that my Spectator ticket fee grants me
permission to be a spectator with my minor(s) in the Mini Mudder Area. I understand that this DOES NOT
GRANT ME OR MY MINOR(S) PERMISSION TO PARTICIPATE in the adult Tough Mudder Event. I
affirm that I have not paid the fee required to participate in the adult Tough Mudder Event and recognize
that should either I or my minor(s) participate in any part of the adult Tough Mudder Event, Tough Mudder
will eject me from the premises immediately and will, under no circumstances, be held responsible or
liable for any injury which either I or my minor(s) may suffer while participating illegally.
Health-Related Permissions by Spectators: In the event of an injury or illness that renders me or my
minor(s) unconscious or incapable of making a medical decision, I authorize appropriate Tough Mudder
personnel and emergency medical personnel at the event to make emergency medical decisions on my
an d m y min o r’s behalf (including, but not limited to CPR and AED). I further authorize Tough Mudder to
secure necessary emergency medical care or transportation (i.e., EMS) and I agree to assume all costs of
emergency medical care and transportation
I acknowledge and fully understand that the minor(s) for whom I execute this document may engage only
in activities related to the Mini Mudder Area or the base area features, and that such activities involve risk
of serious injury, as described above, and severe social and economic losses which might result not only
from the minor’s own acts, omissions, or negligence but also from the acts, omissions, or negligence of
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others, and further acknowledge that there may be other risks not known to me or reasonably foreseeable
at this time.
I acknowledge and fully understand that the minor(s) for whom I execute this document will not be subject
to supervision by the employees or agents of Tough Mudder and that I will be responsible for supervising
the above named minor in their use of the Mini Mudder Area.
I attest that, if I (or my minor(s)) am pregnant, disabled in any way, or have recently suffered an illness,
injury, or impairment, I (or my minor(s)) should have or did consult a physician prior to participating in the
Mini Mudder Area.
I assume all risks and hazards incidental to participation in the Mini Mudder Area, and I hereby waive,
release, absolve, indemnify, and agree to hold harmless the Released Parties for any claim arising or of
an injury to my minor(s) and from any and all liability, claims, actions, demands, expenses, attorney fees,
breach of contract actions, breach of statutory duty or other duty of care, warranty, strict liability actions,
and causes of action whatsoever arising out of or connected with my minor’s participation in the Mini
Mudder Area. I attest that the minor(s) for whom I execute this document, the above-named participant(s),
is/are a minimum of seven (7) years of age and a maximum of thirteen (13) years of age as of the date of
the Tough Mudder Event.
I have evaluated the ability of my minor(s) to be present in the Mini Mudder Area, based on prior
experience with my minor(s) in similar situations.
Rules: I specifically acknowledge and agree to abide by the following rules: 1) children may not be left
unsupervised by their parents or guardians at any time while participating in the Mini Mudder Area 2) no
urination or defecation is permitted outside of designated areas; 3) no non medically-necessary wheeled
conveyances or non-service animals are allowed in the Mini Mudder Area at any time; 4) no clothing,
props or equipment that pose an unnecessary risk to participants, spectators or personnel are permitted;
and 5) obey civil and criminal laws including traffic laws.
Emergency Delay or Cancellation: I acknowledge that Tough Mudder at its sole discretion may delay,
modify, or cancel the TM Event if conditions beyond the control of Tough Mudder, or natural or man-made
emergencies beyond the control of Tough Mudder, make administering the event unreasonably difficult or
unsafe. I agree that “emergency” includes but is not limited to: high wind, extreme rain or hail, hurricane,
tornado, earthquake, flood, acts of terrorism, fire, threatened or actual strike, labor difficulty or work
stoppage, insurrection, war, public disaster, and unavoidable casualty. In the event of a delay,
modification, or cancellation of the TM Event as described in this paragraph, I understand that I will not be
entitled to a refund of my entry fee or any other costs incurred in connection with the TM Event. I further
understand and agree that the terms of this waiver shall apply to any newly rescheduled date or location.
Photography: I understand that any and all photographs, motion pictures, recordings, and/or likenesses of
me and the minor(s) for whom I execute this document captured during the Tough Mudder Event by
Tough Mudder, its affiliated entities or contractors, and/or the media become the sole property of Tough
Mudder. I grant the right, permission and authority to Tough Mudder and its designees to use my and the
minor(s)’ for whom I execute this document name(s) and any such photographs, motion pictures,
recordings, and/or likenesses for any legitimate purpose, including but not limited to promoting,
advertising, and marketing activities. I further understand that Tough Mudder and its designees have the
full right to sell and/or profit from the commercial use of such photographs, motion pictures, recordings,
and/or likenesses.
Majority Age: I affirm that I have reached majority age (or will have reached that age by the date of the
Tough Mudder Event). Majority age is 18 in all states except Alabama (age 19), Missouri (age 19),
Nebraska (age 19), Mississippi (age 21). I further affirm that my participating minor(s) is at least 7 years
old and at least 42’’ tall.
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I AFFIRM THAT I AM THE PARENT OR LEGAL GUARDIAN OF THE MINOR PARTICIPANT(S) LISTED
BELOW AND HAVE THE AUTHORIZATION TO PERMIT THE MINOR PARTICIPANT(S) TO
UNDERTAKE THE ACTIVITIES DESCRIBED ABOVE.
Acknowledgment of Understanding:
I have read this Parental/Guardian Consent and Legal Liability Agreement and fully understand its terms.
I understand that I am giving up substantial rights for myself, my minor(s), and any other parents, or legal
guardians of my minor(s) including my and their right to sue. I further acknowledge that I am freely and
voluntarily accepting the terms of the Agreement and permitting my minor(s) to participate in the Mini
Mudder Area, and intend my electronic signature to be a complete and unconditional release of all liability
due to ORDINARY NEGLIGENCE of Tough Mudder or the INHERENT RISKS of the activity, to the
greatest extent allowed by law in Delaware.

NON-DEL - Data Consent & Online and Onsite Participant Waiver

I am hereby consenting (and if the personal information submitted herein is of a minor below the age of
18, I am hereby consenting, and am lawfully permitted to consent, on his/her behalf) that Tough Mudder
Incorporated, on behalf of itself and its affiliated entities, can process my personal data for the purpose of
marketing, operating promoting, and informing me of its event series and related businesses. Subject to
applicable law and Tough Mudder policies, I am aware that I may withdraw my consent at any time by
using the data subject consent withdrawal process found in our legal terms and conditions (the link is
found on the footer of the Tough Mudder homepage).
READ THIS DOCUMENT CAREFULLY BEFORE AGREEING TO ITS TERMS. THIS DOCUMENT HAS
LEGAL CONSEQUENCES AND MAY AFFECT YOUR LEGAL RIGHTS AND MAY ELIMINATE YOUR
ABILITY TO BRING FUTURE LEGAL ACTIONS. PARTICIPANTS READ WAIVER #1, MINI MUDDERS
READ WAIVER #3.
WAIVER #1: PARTICIPANT LEGAL LIABILITY AGREEMENT
PARTICIPANTS: READ THIS DOCUMENT CAREFULLY BEFORE AGREEING TO ITS TERMS. THIS
DOCUMENT HAS LEGAL CONSEQUENCES AND MAY AFFECT YOUR LEGAL RIGHTS AND MAY
ELIMINATE YOUR ABILITY TO BRING FUTURE LEGAL ACTIONS.
NOTE TO MINORS: YOU CAN ONLY PARTICIPATE IN THE TOUGH MUDDER EVENT IF YOU ARE
OVER THE AGE OF 14.If you are under the age of 18, you may only participate in the TOUGH MUDDER
Event accompanied by an adult. You also acknowledge that your parent or guardian has reviewed,
understood and agreed to the terms below.
NOTE TO PARENTS/GUARDIANS OF MINORS: You acknowledge that you have reviewed, understood
and agreed to the terms below (such terms being interpreted as if they applied to both you and your minor
child/ward) and have the legal authority to enter into this Agreement on behalf of your minor child/ward.
Released Parties include TOUGH MUDDER INCORPORATED and its directors, officers, employees,
agents, contractors, insurers, spectators, co-participants, equipment suppliers, and volunteers; VENUE
and its, officers, employees, agents, contractors, insurers, equipment suppliers, and volunteers; all
TOUGH MUDDER INCORPORATED event sponsors, organizers, promoters, officials, property owners,
and advertisers; governmental bodies and/or municipal agencies whose property and/or personnel are
used; and any or all parent, predecessor, subsidiary or affiliate companies, licensees, officers, directors,
partners, board members, supervisors, insurers, agents, equipment suppliers, and representatives of any
of the foregoing.
Releasing Parties include: the participant (and/or my participating minor child/ward) as well as
participant’s (and/or my participating minor child/ward’s) spouse, children, parents, guardians, heirs, next
of kin, and any legal or personal representatives, executors, administrators, successors and assigns, or
anyone else who might claim or sue on participant’s behalf.
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Assumption of Inherent Risks:
The TM Event(hereafter used to refer to the appropriate Tough Mudder, Tougher Mudder, Toughest
Mudder, World’s Toughest Mudder or Tough Mudder 5k or other Tough Mudder operated event) is meant
to be a test of toughness, strength, stamina, camaraderie, and mental grit that takes place in one place in
one day. It is not a race against other contestants, but rather a competition with oneself and the course.
The object is to complete the course. Venues are part of the challenge and usually involve hostile
environments that might include extreme heat or cold, snow, fire, mud, extreme changes in elevation, and
water. Some of the activities include runs, military style obstacles, going through pipes, traversing cargo
nets, climbing walls, encountering electric voltage, swimming in cold water, throwing or carrying or getting
hit with heavy objects, and traversing muddy areas. In summation, the TM Event is a hazardous activity
that presents the ultimate physical and mental challenge to participants.
I acknowledge that the TM Event is an extreme test of my (and/or my participating minor child/ward’s)
physical and mental limits that carries with it inherent risks of physical injury. Inherent risks are risks that
cannot be eliminated completely (without changing the challenging nature of the TM Event) regardless of
the care and precautions taken by Tough Mudder (hereafter used when referring to the corporate entity
Tough Mudder Incorporated and Released Parties). I also understand that it is extremely strenuous with
the accompanying risks and dangers generally present in such activities. I understand that these hazards
may be magnified due to the fact that the TM Event is often conducted under what may be extreme
conditions and circumstances.
I understand and acknowledge that the inherent risks include, but are not limited to: 1) contact or collision
with persons or objects (e.g., collision with spectators or course personnel, contact with other participants,
contact or collision with motor vehicles or machinery, and contact with natural or man-made fixed objects
or obstacles); 2) encounter with obstacles (e.g., natural and man-made water, road and surface hazards,
close proximity and/or contact with thick smoke and open flames, barbed wire, pipes, and electric
shocks); 3) equipment related hazards (e.g., broken, defective or inadequate equipment, unexpected
equipment failure, imperfect course conditions); 4) weather-related hazards (e.g., extreme heat, extreme
cold, humidity, ice, rain, fog); 5) inadequate or negligent first aid and/or emergency measures; 6)
judgment- and/or behavior-related problems (e.g., erratic or inappropriate co-participant or spectator
behavior, erratic or inappropriate behavior by the participant, errors in judgment by personnel working the
event); 7) natural hazards (e.g. uneven terrain, rock falls, lightning strikes, earthquakes, wildlife attacks,
contact with poisonous plants, marine life, ticks and untested soil/mud contaminated with bacteria or other
similar hazards).
I further understand and acknowledge that any of these risks and others, not specifically named, may
cause injury or injuries that may be categorized as minor, serious, or catastrophic. Minor injuries are
common and include, but are not limited to: scrapes, bruises, sprains, strains, muscle tension and
soreness, nausea, cuts, sunburn, abrasions, grazes, lacerations, and contusions. Serious injuries are less
common, but do sometimes occur. They include but are not limited to property loss or damage, broken
bones, fractures, torn or strained ligaments and tendons, concussions, exposure, dehydration, heat
exhaustion and other heat-related illnesses, mental stress or exhaustion, infection, vomiting, dislocations,
hyperthermia, hypothermia, anemia, electrolyte imbalance, loss of consciousness, syncope, dizziness,
fainting, seizures, electric shock and/or injury, and neurological disorders/pain. Catastrophic injuries are
rare; however, we feel that our participants should be aware that they could occur. These injuries can
include, but are not limited to, permanent disabilities, stroke, single or multiple organ failure or
dysfunction, physical damage to organs, spinal injuries, paralysis, heart attack, heart failure, blood cell
disorder, brain swelling, and even death.
I further understand and acknowledge that the TM Event may contain obstacles with electrically charged
wiring and fencing which I may be exposed to during the TM Event. I understand and acknowledge that
exposure to such electrically charged objects may directly cause or contribute to serious and permanent
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bodily injury. The injuries include, but are not limited to: skin irritation, electrical burns, muscle spasm,
muscle contraction, single or multiple organ failure, eye injuries including cataracts and temporary or
permanent blindness, cardiac arrest, amputation, heart attack, disruption of normal cardiac rhythm,
bleeding, muscular swelling, decreased blood flow to extremities, loss of consciousness, coma, seizure,
spinal cord injury, fracture, injury to ligaments, paralysis, stroke muscle weakness, neurological disorder,
tingling sensations, infection, muscle breakdown or destruction, depression, anxiety, aggressive behavior,
ulcer, pneumonia, sepsis, and even death.
I also understand that it is my responsibility to consult with my personal physician prior to my or my minor
child/ward participating in the TM Event to ensure that such participation will not pose any unusual risks to
my health and well-being.
If I believe, or become aware that any aspect of the TM Event is unsafe or poses unreasonable risks, I
agree to immediately notify appropriate personnel. By participating in the TM Event, I am acknowledging
that I have found the course, facilities, equipment, and areas to be used to be safe and acceptable for
participation. I accept full and sole responsibility for the condition and adequacy of my (and/or my minor
child/ward’s) equipment.
I understand fully the inherent risks of my (and/or my participating minor child/ward’s) participation in the
TM Event and assert that I (and/or my participating minor child/ward’s)am/are willingly and voluntarily
participating in the event. I have read the preceding paragraphs and acknowledge that 1) I know the
nature of the TM Event; 2) I understand the demands of this activity relative to my (and/or my participating
minor child/ward’s) physical condition; and 3) I appreciate the potential impact of the types of injuries that
may result from the TM Event. I hereby assert that I knowingly assume all of the inherent risks of the
activity on behalf of myself and/or on behalf of my minor child/ward and take full responsibility for any and
all damages, liabilities, losses, or expenses that I (and/or my participating minor child/ward) may incur as
a result of participating in the TM Event.
Waiver of Liability for ORDINARY NEGLIGENCE:
In consideration of being permitted to participate in the TM Event , and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, I (on behalf of the Releasing
Parties) hereby forever waive, release, covenant not to sue, and discharge Tough Mudder and the other
Released Parties from any and all claims, suits, damages, liabilities, costs, losses or expenses resulting
from the INHERENT RISKS of the TM Event or the ORDINARY NEGLIGENCE of Tough Mudder (or
other Released Parties) that I (and/or my participating minor child/ward) may have arising out of my
(and/or my minor child/ward’s) participation in the TM Event.
This Participant Legal Liability Agreement applies to 1) personal injury (including death) from incidents or
illnesses arising from the TM Event participation, which includes injury during course inspection,
observation, the event, medical treatment, base area features and while on the premises (including, but
not limited to base area, stands, sidewalks, parking areas, sponsor promotions, restrooms, first-aid tents,
and dressing facilities); and 2) any and all of my claims relating to the TM Event, including but not limited
to, damaged, lost or stolen property, and both contractual and non-contractual claims.
Indemnification Agreement:
In consideration of being permitted to participate in the TM Event and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, I hereby agree to hold
harmless, defend and indemnify Tough Mudder (and the other Released Parties) from and against any
and all claims of co-participants, rescuers, and others arising from my (and/or my participating minor
child/ward’s) conduct in the course of my (and/or my participating minor child/ward’s) participation in the
TM Event. For the purposes hereof, “claims” includes all actions and causes of action, claims, demands,
losses, costs, expenses and damages, including legal fees and related expenses. This indemnity shall
survive the expiration or sooner termination of the TM Event.
Other Agreements:
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Venue and Jurisdiction: If, despite the overriding Mediation and Arbitration provision I agree to below,
legal action proceeds in a court of law, the local state or federal court in the county in which the TM Event
is held has the exclusive jurisdiction and that only the substantive laws of the state in which the TM Event
is held shall apply.
Severability: I understand and agree that this Assumption of Risk, Waiver of Liability, and Indemnification
Agreement is intended to be as broad and inclusive as is permitted by law in the State in which the TM
Event is held and that if any provision shall be found to be unlawful, void, or for any reason
unenforceable, then that provision shall be severed from this Agreement and does not affect the validity
and enforceability of any remaining provisions.
Integration: I affirm that this agreement supersedes any and all previous oral or written promises or
agreements. I understand that this is the entire Agreement between me and Tough Mudder and cannot
be modified or changed in any way by representations or statements by any agent or employee of Tough
Mudder. This Agreement may only be amended by a written document duly executed by all parties.
Mediation and Arbitration: In the event of a legal issue, I agree to engage in good faith efforts to mediate
any dispute that might arise. Any agreement reached will be formalized by a written contractual
agreement at that time. Should the issue not be resolved by mediation, I agree that all disputes,
controversies, or claims arising out of my (and/or my participating minor child/ward’s) participation in the
TM Event shall be submitted to binding arbitration in accordance with the applicable rules of the American
Arbitration Association then in effect. The cost of such action shall be shared equally by the parties. I
further acknowledge and agree that any question, issue, or dispute as to the arbitrability of any dispute,
controversy, or claim arising out of my participation in the TM Event, will be submitted to an arbitrator in
accordance with the applicable rules of the American Arbitration Association then in effect. The Arbitration
Rules of the American Arbitration Association are available on-line at www.adr.org.
Class Actions: I agree that any arbitration, mediation or legal action shall proceed solely on an individual
basis without the right for any claims to be arbitrated on a class action basis or on bases involving claims
brought in a purported representative capacity on behalf of others. Claims may not be joined or
consolidated unless agreed to in writing by all parties.
Agreements for the Protection of Participants:
I represent and warrant that I (and/or my participating minor child/ward)am/are in good health and in
proper physical condition to safely participate in the TM Event. I certify that I (and/or my participating
minor child/ward)have no known or knowable physical or mental conditions that would affect my/our
ability to safely participate in the TM Event, or that would result in my/our participation creating a risk of
danger to myself (and/or my participating minor child/ward) or to others.
I represent and warrant that I (and/or my participating minor child/ward)am/are in full command of my/our
faculties and am/are not under the influence of alcohol or drugs and agree not to participate in a TM
Event while under the influence of alcohol and/or drugs.
I acknowledge that Tough Mudder recommends and encourages each participant to get medical
clearance from his/her personal physician prior to participation. I assert that I(and/or my participating
minor child/ward) have not been advised or cautioned against participating by a medical practitioner. I
understand that it is my responsibility to continuously monitor my own (and/or my participating minor
child/ward’s) physical and mental condition during the TM Event, and I agree to withdraw immediately and
notify appropriate personnel if at any point my/our continued participation would create a risk of danger to
myself (and/or my participating minor child/ward)or to others.
I represent and warrant that I (and/or my participating minor child/ward)am/are covered by medical
insurance.
In the event of an injury to me (and/or my participating minor child/ward)that renders me (and/or my
participating minor child/ward)unconscious or incapable of making a medical decision, I authorize
appropriate Tough Mudder personnel and emergency medical personnel at the event to make emergency
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medical decisions on my (and/or my participating minor child/ward’s)behalf (including, but not limited to
CPR and AED). I understand that it is my sole responsibility to seek medical care should I experience any
unusual physical symptoms, pain or discomfort of any kind following my participation in the TM Event.
I authorize Tough Mudder to secure emergency medical care or transportation (i.e., EMS) when deemed
necessary by Tough Mudder I agree to assume all costs of emergency medical care and transportation.
Entry and Participation Agreements:
Rules: I agree to become familiar with and abide by all written and/or posted rules of Tough Mudder, as
well as all written and/or posted rules of the Venue. I further agree to comply with all directions,
instructions and decisions of Tough Mudder and Venue personnel. I further agree not to challenge these
rules, directions, instructions, or decisions on any basis at any time.
Chaperones: If you are a chaperone of a participating minor you agree to supervise and stay with the
participating minor at all times during the Event, even on the course.
Emergency Delay or Cancellation: I acknowledge that Tough Mudder at its sole discretion may delay,
modify, or cancel the TM Event if conditions beyond the control of Tough Mudder, or natural or man-made
emergencies beyond the control of Tough Mudder, make administering the event unreasonably difficult or
unsafe. I agree that “emergency” includes but is not limited to: high wind, extreme rain or hail, hurricane,
tornado, earthquake, flood, acts of terrorism, fire, threatened or actual strike, labor difficulty or work
stoppage, insurrection, war, public disaster, and unavoidable casualty. In the event of a delay,
modification, or cancellation of the TM Event as described in this paragraph, I understand that I will not be
entitled to a refund of my entry fee or any other costs incurred in connection with the TM Event. I further
understand and agree that the terms of this waiver shall apply to any newly rescheduled date or location.
Govern Participation: I understand that Tough Mudder has the authority to issue instructions or directions
relating to the manner of my (and/or my participating minor child/ward’s)safe participation in the Course or
Related Activities and the authority to halt my (and/or my participating minor child/ward’s)participation in
the TM Event or Related Activities at any time they deem it necessary to protect the safety of participants,
spectators, and personnel; and/or promote fairness and the spirit of Tough Mudder.
Removal from Course: I understand that Tough Mudder and Venue personnel may immediately cause
anyone who disobeys any rules, directions, instructions, decisions, or laws, or whose behavior endangers
safety or negatively affects a person, facility, or property of any type or kind, to be removed from the
Course.
Fee Refunds: I understand that all fees and associated costs (including optional product purchases,
spectator tickets, and donations), paid in registration for this TM Event are not refundable for any reason
under any circumstances, including but not limited to injury, a scheduling conflict, and/or event
cancellation.
Attitude and Behavior: I agree to exhibit appropriate behavior at all times; demonstrate respect for all
people, equipment, and facilities; and participate with a cooperative and positive attitude.
Alcohol & Drugs: I understand that the consumption of any alcohol and any illicit or illegal drugs or
substances during the event is strictly prohibited. Tough Mudder will only allow the responsible
consumption of alcohol after the TM Event. The consumption of any illicit or illegal drugs or substances
before, during, and after the TM Event is strictly prohibited. I agree to take full responsibility for any
alcohol consumption at the Event.
Specific Rules: I specifically acknowledge and agree to abide by the following rules: 1) no urination or
defecation is permitted outside of designated areas; 2) no non-medically necessary wheeled
conveyances or non-service animals are allowed in the Course at any time; 3) no clothing, props or
equipment that pose an unnecessary risk to participants, spectators or personnel are permitted; and 4)
obey civil and criminal laws including traffic laws.
Photography: I understand that any and all photographs, motion pictures, recordings, and/or likenesses of
me (and/or my participating minor child/ward)captured during the TM Event by Tough Mudder, its
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affiliated entities or contractors, and/or the media become the sole property of Tough Mudder. I grant the
right, permission and authority to Tough Mudder and its designees to use my (and/or my participating
minor child/ward’s)name and any such photographs, motion pictures, recordings, and/or likenesses for
any legitimate purpose, including but not limited to promoting, advertising, and marketing activities. I
further understand that Tough Mudder and its designees have the full right to sell and/or profit from the
commercial use of such photographs, motion pictures, recordings, and/or likenesses.
Acknowledgment of Understanding:
I have read this Participant Legal Liability Agreement, and fully understand its terms. I understand that I
(and/or my participating minor child/ward) am/are giving up substantial rights, including my/our right to
sue. I further acknowledge that I (and/or my participating minor child/ward) am/are freely and voluntarily
accepting the terms of the agreement and participating in the TM Event, and intend my electronic
signature to be a complete and unconditional release of all liability due to ORDINARY NEGLIGENCE of
Tough Mudder (and other Released Parties) or the INHERENT RISKS of the activity, to the greatest
extent allowed by law in the State which the TM Event is held.
IF I AM A PARENT OR GUARDIAN OF A PARTICIPANT UNDER THE AGE OF MAJORITY WHO IS
PARTICIPATING IN THE TM EVENT (“MINOR CHILD/WARD”), I HEREBY GIVE MY APPROVAL FOR
MINOR CHILD/WARD’S PARTICIPATION IN THE TM EVENT, REPRESENT THAT THE MINOR
CHILD/WARD IS IN GOOD PHYSICAL CONDITION AND ACKNOWLEDGE THAT I HAVE REVIEWED
UNDERSTOOD AND AGREE TO THE TERMS HEREIN (SUCH TERMS BEING INTERPRETED AS IF
THEY APPLIED TO BOTH ME AND THE MINOR CHILD/WARD) AND HAVE THE LEGAL AUTHORITY
TO ENTER INTO THIS PARTICIPANT LEGAL LIABILITY AGREEMENT ON BEHALF OF THE MINOR
CHILD/WARD.
WAIVER #3: MINI MUDDER
PARENTAL/GUARDIAN CONSENT AND LEGAL LIABILITY AGREEMENT
PARENTS/GUARDIANS OF MINOR PARTICIPANTS: READ THIS DOCUMENT CAREFULLY BEFORE
AGREEING TO ITS TERMS. THIS DOCUMENT HAS LEGAL CONSEQUENCES AND MAY AFFECT
YOUR AND YOUR MINOR’S LEGAL RIGHTS, AND MAY ELIMINATE YOUR ABILITY TO BRING
FUTURE LEGAL ACTIONS. AS THE PARENT OR GUARDIAN OF A MINOR UNDER THE AGE OF 18
WHO IS ATTENDING THE TOUGH MUDDER EVENT WITH YOU, BY AGREEING TO THIS
DOCUMENT, YOU HEREBY AGREE TO THE TERMS OF THIS DOCUMENT ON THEIR BEHALF AND
GIVE APPROVAL FOR THE MINOR’S PARTICIPATION IN THE MINI MUDDER AREA AT THE TOUGH
MUDDER EVENT (“TOUGH MUDDER EVENT” INCLUDES THE MINI MUDDER EVENT) UNDER YOUR
DIRECT SUPERVISION.
Released Parties include Tough Mudder Incorporated and its directors, officers, employees, agents,
contractors, insurers, spectators, equipment suppliers, and volunteers; VENUE and their officers,
employees, agents, contractors, insurers, equipment suppliers, and volunteers; all Tough Mudder event
sponsors, organizers, promoters, directors, officials, property owners, and advertisers; governmental
bodies and/or municipal agencies whose property and/or personnel are used; and any or all parent,
subsidiary or affiliate companies, licensees, officers, directors, partners, board members, supervisors,
insurers, agents, equipment suppliers, and representatives of any of the foregoing (hereinafter jointly
“Tough Mudder”)
Releasing Parties include: the parent/guardian, his or her minor(s) participating in the Mini Mudder Area,
and the parent/guardian’s spouse, children, parents, guardians, heirs, next of kin, and any legal or
personal representatives, executors, administrators, successors and assigns, or anyone else who might
claim or sue on behalf of the minor(s) participating in the Mini Mudder Area’s behalf and anyone who
might claim or sue on behalf of the parent/guardian.
Assumption of Inherent Risks:
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The Mini Mudder Area is a part of the overall Tough Mudder Event and is a hazardous activity in a
dangerous environment. Some of the activities include, but are not li mi ted to runs, traversing pipes,
cargo nets and muddy areas, and climbing walls. The environment, the activities, and the efforts of
participants can put other participants at serious risk of injury. Some of the inherent risks to participants
include, but are not limited to contact or collision with 1) persons or objects (e.g., other participants,
course personnel, spectators), motor vehicles or machinery, and natural or man-made fixed objects or
obstacles; 2) obstacles (e.g., natural and man-made water, road and surface hazards, and pipes); 3)
weather-related hazards (e.g., extreme heat, extreme cold, humidity, ice, rain, fog); 4) inadequate first aid
and/or emergency measures; 5) judgment and/or behavior-related problems (e.g., erratic or inappropriate
behavior by participants, personnel, or spectators, and errors in judgment by personnel working the
event); and 6) natural hazards (e.g. uneven terrain, rock falls, lightning strikes, earthquakes, wildlife
attacks, poisonous plants, marine life and/or ticks). I understand, agree, and accept that some of the
obstacles my minor(s) may go through contain water that has not been tested for chemicals, disease, or
other contamination. My child will not dive head first into a mud pit.
This Parent/Guardian Consent and Legal Liability Agreement applies to 1) personal injury (including
death) from incidents or illnesses arising from the Mini Mudder, which includes injury during course
inspection, observation, the event, and while on the premises (including, but not limited to stands,
sidewalks, parking areas, restrooms, and dressing facilities); and 2) any and all of my claims relating to
the TM Event, including but not limited to, damaged, lost or stolen of property, and both contractual and
non-contractual claims
I further understand and acknowledge that any of these risks and others, not specifically named, may
cause injury or injuries that may be categorized as minor, serious, or catastrophic. Common minor injuries
include, but are not limited to: scrapes, bruises, sprains, nausea, and cuts. Less common serious injuries
also sometimes occur. They include, but are not limited to: property loss or damage, broken bones, torn
ligaments, concussions, exposure, heat - related illness, mental stress or exhaustion, infection, and
concussions. Catastrophic injuries are rare; however, we feel that our participants and their parents
should be aware that they could occur. These injuries can include but are not limited to permanent
disabilities, spinal injuries and paralysis, stroke, heart attack, amputation and even death.
I understand fully the inherent risks of my minor(s) participating in the Mini Mudder Area as well as the
inherent risks in connection with the Mini Mudder Area. I have read the preceding paragraphs and
acknowledge that I know, understand, and appreciate the risks. I hereby g iv e my full c o n s e n t a n d
app r o v a l f o r my mi n o r ( s ) t o participate in t h e Mini Mudder Area a n d assert that I knowingly
assume all of the inherent risks of the activity and take full responsibility for supervision in addition to all
damages, liabilities, losses, or expenses that I or my minor(s) incur(s) as a result of my or my minor(s)
presence in the Mini Mudder Area.
Waiver of Liability for ORDINARY NEGLIGENCE:
In consideration of my minor(s) being permitted to be a participant in the Mini Mudder Area, I (on behalf of
the Releasing Parties) hereby forever waive, release, covenant not to sue, and discharge Tough Mudder
INCORPORATED and the other Released Parties from any and all claims, suits, damages, liabilities,
costs, losses or expenses resulting from the INHERENT RISKS of the Mini Mudder Area or the
ORDINARY NEGLIGENCE of Tough Mudder (hereafter used when referring to the corporate entity Tough
Mudder Incorporated and other Released Parties) that I or my minor(s) may have arising out of my or my
minor(s) presence at the Mini Mudder Area.
Indemnification Agreement:
In consideration of being permitted to attend the Mini Mudder Area and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged , I hereby agree to hold
harmless, defend and indemnify Tough Mudder (and the other Released Parties) from and againstany
and all claims of co-participants, co-spectators, rescuers, and others arising from my o r m y minor ( s )
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conduct in the Mini Mudder Area. For the purposes hereof, “claims” includes all actions and causes of
action, claims, demands, losses, costs, expenses and damages, including legal fees and related
expenses. This indemnity shall survive the expiration or sooner termination of the Tough Mudder Event or
Mini Mudder Event.
Other Agreements:
If, despite the overriding Mediation and Arbitration provision I agree to below, legal action proceeds in a
court of law, the local state or federal court in the county in which the TM Event is held has the exclusive
jurisdiction and that only the substantive laws of the state in which the TM Event is held shall apply.
I assert that this Agreement is intended to be as broad and inclusive as is permitted by law in the State in
which the TM Event is held and that if any provision shall be found to be unlawful, void, or for any reason
unenforceable, then the remaining portions shall remain in full effect.
I affirm that this Agreement supersedes any and all previous oral or written promises or agreements;
constitutes the entire agreement between me and Tough Mudder; and can be amended only by a written
document duly executed by myself and Tough Mudder.
In the event of a legal issue, I agree to engage in good faith efforts to mediate any dispute that might
arise. Any agreement reached will be formalized by a written contractual agreement at that time. Should
the issue not be resolved by mediation, I agree that all disputes, controversies, or claims arising out of or
relating to my presence at the Tough Mudder Event shall be submitted to binding arbitration in
accordance with the applicable rules of the American Arbitration Association then in effect. The cost of
such action shall be shared equally by the parties. I further acknowledge and agree that any question,
issue, or dispute as to the arbitrability of any dispute, controversy, or claim arising out of my participation
in the Tough Mudder Event, will be submitted to an arbitrator in accordance with the applicable rules of
the American Arbitration Association (AAA) then in effect. The Arbitration Rules of the AAA are available
on-line atwww.adr.org.
I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs
I agree to dress myself and my minor(s) appropriately so as to mitigate risk of physical injury to myself or
my minor(s) including, but not limited to: wearing shoes appropriate for strenuous physical activity
involved in the Mini Mudder Area; and dressing in conjunction with the weather.
I agree that I have authority to act on behalf of my minor(s) attending the Tough Mudder Event.
Specific Rules and Limitations for Mini Mudder:
Limitations to Minor Participants and Their Parents: I understand that my Spectator ticket fee grants me
permission to be a spectator with my minor(s) in the Mini Mudder Area. I understand that this DOES NOT
GRANT ME OR MY MINOR(S) PERMISSION TO PARTICIPATE in the adult Tough Mudder Event. I
affirm that I have not paid the fee required to participate in the adult Tough Mudder Event and recognize
that should either I or my minor(s) participate in any part of the adult Tough Mudder Event, Tough Mudder
will eject me from the premises immediately and will, under no circumstances, be held responsible or
liable for any injury which either I or my minor(s) may suffer while participating illegally.
Health-Related Permissions by Spectators: In the event of an injury or illness that renders me or my
minor(s) unconscious or incapable of making a medical decision, I authorize appropriate Tough Mudder
personnel and emergency medical personnel at the event to make emergency medical decisions on my
an d m y min o r’s behalf (including, but not limited to CPR and AED). I further authorize Tough Mudder to
secure necessary emergency medical care or transportation (i.e., EMS) and I agree to assume all costs of
emergency medical care and transportation
I acknowledge and fully understand that the minor(s) for whom I execute this document may engage only
in activities related to the Mini Mudder Area or the base area features, and that such activities involve risk
of serious injury, as described above, and severe social and economic losses which might result not only
from the minor’s own acts, omissions, or negligence but also from the acts, omissions, or negligence of
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others, and further acknowledge that there may be other risks not known to me or reasonably foreseeable
at this time.
I acknowledge and fully understand that the minor(s) for whom I execute this document will not be subject
to supervision by the employees or agents of Tough Mudder and that I will be responsible for supervising
the above named minor in their use of the Mini Mudder Area.
I attest that, if I (or my minor(s)) am pregnant, disabled in any way, or have recently suffered an illness,
injury, or impairment, I (or my minor(s)) should have or did consult a physician prior to participating in the
Mini Mudder Area.
I assume all risks and hazards incidental to participation in the Mini Mudder Area, and I hereby waive,
release, absolve, indemnify, and agree to hold harmless the Released Parties for any claim arising or of
an injury to my minor(s) and from any and all liability, claims, actions, demands, expenses, attorney fees,
breach of contract actions, breach of statutory duty or other duty of care, warranty, strict liability actions,
and causes of action whatsoever arising out of or connected with my minor’s participation in the Mini
Mudder Area. I attest that the minor(s) for whom I execute this document, the above-named participant(s),
is/are a minimum of seven (7) years of age and a maximum of thirteen (13) years of age as of the date of
the Tough Mudder Event.
I have evaluated the ability of my minor(s) to be present in the Mini Mudder Area, based on prior
experience with my minor(s) in similar situations.
Rules: I specifically acknowledge and agree to abide by the following rules: 1) children may not be left
unsupervised by their parents or guardians at any time while participating in the Mini Mudder Area 2) no
urination or defecation is permitted outside of designated areas; 3) no non medically-necessary wheeled
conveyances or non-service animals are allowed in the Mini Mudder Area at any time; 4) no clothing,
props or equipment that pose an unnecessary risk to participants, spectators or personnel are permitted;
and 5) obey civil and criminal laws including traffic laws.
Emergency Delay or Cancellation: I acknowledge that Tough Mudder at its sole discretion may delay,
modify, or cancel the TM Event if conditions beyond the control of Tough Mudder, or natural or man-made
emergencies beyond the control of Tough Mudder, make administering the event unreasonably difficult or
unsafe. I agree that “emergency” includes but is not limited to: high wind, extreme rain or hail, hurricane,
tornado, earthquake, flood, acts of terrorism, fire, threatened or actual strike, labor difficulty or work
stoppage, insurrection, war, public disaster, and unavoidable casualty. In the event of a delay,
modification, or cancellation of the TM Event as described in this paragraph, I understand that I will not be
entitled to a refund of my entry fee or any other costs incurred in connection with the TM Event. I further
understand and agree that the terms of this waiver shall apply to any newly rescheduled date or location.
Photography: I understand that any and all photographs, motion pictures, recordings, and/or likenesses of
me and the minor(s) for whom I execute this document captured during the Tough Mudder Event by
Tough Mudder, its affiliated entities or contractors, and/or the media become the sole property of Tough
Mudder. I grant the right, permission and authority to Tough Mudder and its designees to use my and the
minor(s)’ for whom I execute this document name(s) and any such photographs, motion pictures,
recordings, and/or likenesses for any legitimate purpose, including but not limited to promoting,
advertising, and marketing activities. I further understand that Tough Mudder and its designees have the
full right to sell and/or profit from the commercial use of such photographs, motion pictures, recordings,
and/or likenesses.
Majority Age: I affirm that I have reached majority age (or will have reached that age by the date of the
Tough Mudder Event). Majority age is 18 in all states except Alabama (age 19), Missouri (age 19),
Nebraska (age 19), Mississippi (age 21). I further affirm that my participating minor(s) is at least 7 years
old and at least 42’’ tall.
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I AFFIRM THAT I AM THE PARENT OR LEGAL GUARDIAN OF THE MINOR PARTICIPANT(S) LISTED
BELOW AND HAVE THE AUTHORIZATION TO PERMIT THE MINOR PARTICIPANT(S) TO
UNDERTAKE THE ACTIVITIES DESCRIBED ABOVE.
Acknowledgment of Understanding:
I have read this Parental/Guardian Consent and Legal Liability Agreement and fully understand its terms.
I understand that I am giving up substantial rights for myself, my minor(s), and any other parents, or legal
guardians of my minor(s) including my and their right to sue. I further acknowledge that I am freely and
voluntarily accepting the terms of the Agreement and permitting my minor(s) to participate in the Mini
Mudder Area, and intend my electronic signature to be a complete and unconditional release of all liability
due to ORDINARY NEGLIGENCE of Tough Mudder or the INHERENT RISKS of the activity, to the
greatest extent allowed by law in the State in which the TM Event is held.

NON-DEL - Data Consent & Online and Onsite Spectator Waiver
I am hereby consenting (and if the personal information submitted herein is of a minor below the age of
18, I am hereby consenting, and am lawfully permitted to consent, on his/her behalf) that Tough Mudder
Incorporated, on behalf of itself and its affiliated entities, can process my personal data for the purpose of
marketing, operating promoting, and informing me of its event series and related businesses. Subject to
applicable law and Tough Mudder policies, I am aware that I may withdraw my consent at any time by
using the data subject consent withdrawal process found in our legal terms and conditions (the link is
found on the footer of the Tough Mudder homepage).
READ THIS DOCUMENT CAREFULLY BEFORE AGREEING TO ITS TERMS. THIS DOCUMENT HAS
LEGAL CONSEQUENCES AND MAY AFFECT YOUR LEGAL RIGHTS AND MAY ELIMINATE YOUR
ABILITY TO BRING FUTURE LEGAL ACTIONS. SPECTATORS READ WAIVER #2, MINI MUDDERS
READ WAIVER #3.
WAIVER #2: Spectator Legal Liability Agreement
Spectators: READ THIS DOCUMENT CAREFULLY BEFORE AGREEING TO ITS TERMS. THIS
DOCUMENT HAS LEGAL CONSEQUENCES AND MAY AFFECT YOUR LEGAL RIGHTS AND MAY
ELIMINATE YOUR ABILITY TO BRING FUTURE LEGAL ACTIONS. IF YOU ARE A PARENT OR
GUARDIAN OF A SPECTATOR UNDER THE AGE OF 18 WHO IS ATTENDING THE TOUGH MUDDER
EVENT WITH YOU, BY AGREEING TO THIS DOCUMENT, YOU HEREBY AGREE TO THE TERMS OF
THIS DOCUMENT ON THEIR BEHALF AND GIVE APPROVAL FOR YOUR CHILD'S ATTENDANCE AT
THE TOUGH MUDDER EVENT.
Released Parties include TOUGH MUDDER INCORPORATED and its directors, officers, employees,
agents, contractors, insurers, participants, spectators, equipment suppliers, and volunteers; VENUE and
its directors, officers, employees, agents, contractors, insurers, equipment suppliers, and volunteers; all
TOUGH MUDDER INCORPORATED event sponsors, organizers, promoters, directors, officials, property
owners, and advertisers; governmental bodies and/or municipal agencies whose property and/or
personnel are used; and any or all parent, predecessor, subsidiary or affiliate companies, licensees,
officers, directors, partners, board members, supervisors, insurers, agents, equipment suppliers, and
representatives of any of the foregoing.
Releasing Parties include: the spectator as well as his or her spouse, children, parents, guardians, heirs,
next of kin, and any legal or personal representatives, executors, administrators, successors and assigns,
or anyone else who might claim or sue on the spectator’s behalf.
Assumption of Inherent Risks:
The TM Event (hereafter used to refer to the appropriate Tough Mudder, Tougher Mudder, Toughest
Mudder, World’s Toughest Mudder or Tough Mudder 5k or other Tough Mudder operated event) is a
hazardous activity that takes place in a dangerous and hostile environment. Some of the activities include
runs, military style obstacles, going through pipes, traversing cargo nets, climbing walls, encountering
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electric voltage and fire, swimming in cold water, throwing, carrying, or getting hit with heavy objects, and
traversing muddy areas. The environment, the activities, and the competitive efforts of the participants
can put spectators at serious risk of injury. Spectators will also have the opportunity to participate in base
area features. These base area features, like the course, carry inherent risks. Some of the inherent risks
to spectators on both the course and base area include, but are not limited to contact or collision with 1)
persons or objects (e.g., collision with other spectators, course personnel, participants), motor vehicles or
machinery, and natural or man-made fixed objects or obstacles; 2) obstacles (e.g., natural and man-made
water, road and surface hazards, close proximity and/or contact with thick smoke and open flames,
barbed wire, pipes, and electric shocks); 3) weather-related hazards (e.g., extreme heat, extreme cold,
humidity, ice, rain, fog); 4) inadequate first aid and/or emergency measures; 5) judgment- and/or
behavior-related problems (e.g., erratic or inappropriate behavior by participants, personnel, or other
spectators, and errors in judgment by personnel working the event); and 6) natural hazards (e.g., uneven
terrain, rock falls, lightning strikes, earthquakes, wildlife attacks, contact with poisonous plants, marine life
and/or ticks).
I further understand and acknowledge that any of these risks and others, not specifically named, may
cause injury or injuries that may be categorized as minor, serious, or catastrophic. Common minor injuries
include, but are not limited to: scrapes, bruises, sprains, strains, muscle tension and soreness, nausea,
cuts, sunburn, abrasions, grazes, lacerations, and contusions. Less common serious injuries also
sometimes occur. They include but are not limited to property loss or damage, broken bones, fractures,
torn or strained ligaments and tendons, concussions, exposure, dehydration, heat exhaustion and other
heat-related illnesses, mental stress or exhaustion, infection, vomiting, dislocations, hyperthermia,
hypothermia, anemia, electrolyte imbalance, loss of consciousness, syncope, dizziness, fainting,
seizures, electric shock and/or injury, and neurological disorders/pain. Catastrophic injuries are rare;
however, we feel that our spectators should be aware that they could occur. These injuries can include
but are not limited to permanent disabilities, spinal injuries and paralysis, stroke, heart attack, and even
death.
I further understand and acknowledge that the TM Event may contain obstacles with electrically charged
wiring and fencing. During this event I may be exposed to such electrically charged live wiring. I
understand and acknowledge that exposure to such electrically charged objects may directly cause or
contribute to bodily injury. These injuries may be serious and permanent. The injuries include, but are not
limited to: skin irritation, electrical burns, muscle spasm, muscle contraction, single or multiple organ
failure, eye injuries including cataracts and temporary or permanent blindness, cardiac arrest, amputation,
heart attack, disruption of normal cardiac rhythm, bleeding, muscular swelling, decreased blood flow to
extremities, loss of consciousness, coma, seizure, spinal cord injury, fracture, injury to ligaments,
paralysis, stroke muscle weakness, neurological disorder, tingling sensations, infection, muscle
breakdown or destruction, depression, anxiety, aggressive behavior, ulcer, pneumonia, sepsis, and even
death.
I understand fully the inherent risks of a being a spectator for a TM Event. I have read the preceding
paragraphs and acknowledge that I know, understand, and appreciate the risks of being a spectator. I
hereby assert that I knowingly assume all of the inherent risks of the activity and take full responsibility for
any and all damages, liabilities, losses, or expenses that I incur as a result of my presence at the TM
Event.
Waiver of Liability for ORDINARY NEGLIGENCE:
In consideration of being permitted to be a spectator in the TM Event, I (on behalf of the Releasing
Parties) hereby forever waive, release, covenant not to sue, and discharge Tough Mudder
INCORPORATED and the other Released Parties from any and all claims, suits, damages, liabilities,
costs, losses or expenses resulting from the INHERENT RISKS of the TM Event or the ORDINARY
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NEGLIGENCE of Tough Mudder (hereafter used when referring to the corporate entity Tough Mudder
Incorporated and other Released Parties) that I may have arising out of my presence at the TM Event.
This Spectator Legal Liability Agreement applies to 1) personal injury (including death) from incidents or
illnesses arising from the TM Event participation, which includes injury during course inspection,
observation, the event, medical treatment, base area features and while on the premises (including, but
not limited to base area, stands, sidewalks, parking areas, sponsor promotions, restrooms, first-aid tents,
and dressing facilities); and 2) any and all of my claims relating to the TM Event, including but not limited
to, damaged, lost or stolen property, and both contractual and non-contractual claims.
Indemnification Agreement:
In consideration of being permitted to attend the TM Event and for other good and valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, I hereby agree to hold harmless, defend
and indemnify Tough Mudder (and the other Released Parties) from and against any and all claims of
co-spectators, rescuers, and others arising from my conduct in the course of my attending the TM Event.
For the purposes hereof, “claims” includes all actions and causes of action, claims, demands, losses,
costs, expenses and damages, including legal fees and related expenses. This indemnity shall survive
the expiration or sooner termination of the TM Event.
Other Agreements:
If, despite the overriding Mediation and Arbitration provision I agree to below, legal action proceeds in a
court of law, the local state or federal court in the county in which the TM Event is held has the exclusive
jurisdiction and that only the substantive laws of the state in which the TM Event is held shall apply.I
assert that this Agreement is intended to be as broad and inclusive as is permitted by the State in which
the TM Event is held and that if any provision shall be found to be unlawful, void, or for any reason
unenforceable, then the remaining portions shall remain in full effect.
I affirm that this agreement supersedes any and all previous oral or written promises or agreements;
constitutes the entire agreement between me and Tough Mudder; and can be amended only by a written
document duly executed by all parties.
In the event of a legal issue, I agree to engage in good faith efforts to mediate any dispute that might
arise. Any agreement reached will be formalized by a written contractual agreement at that time. Should
the issue not be resolved by mediation, I agree that all disputes, controversies, or claims arising out of my
presence at the TM Event shall be submitted to binding arbitration in accordance with the applicable rules
of the American Arbitration Association then in effect. The Arbitration Rules of the American Arbitration
Association are available on-line at www.adr.org. The cost of such action shall be shared equally by the
parties.
I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs.
I agree that any arbitration, mediation or legal action shall proceed solely on an individual basis without
the right for any claims to be arbitrated on a class action basis or on bases involving claims brought in a
purported representative capacity on behalf of others. Claims may not be joined or consolidated unless
agreed to in writing by all parties.
Limitations to Spectators:
I understand that I have been granted permission to be a spectator for the TM Event. I understand that
this DOES NOT GRANT ME PERMISSION TO PARTICIPATE in any part of the TM Event. I will,
however, have the opportunity to participate in base area features. I affirm that I have not paid the fee
required to participate in the TM Event and recognize that should I participate in any activity, Tough
Mudder will eject me from the premises immediately and will, under no circumstances, be held
responsible or liable for any injury which I may suffer while participating illegally.
Health-Related Permissions by Spectators:
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• I represent and warrant that I am/are in good health and in proper physical condition to safely participate
in the TM Event base area features. I certify that I have no known or knowable physical or mental
conditions that would affect my/our ability to safely participate in the TM Event base area features, or that
would result in my participation creating a risk of danger to myself (and/or my participating minor
child/ward) or to others.
• I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs and agree not to participate in a TM Event base area feature while under the influence of
alcohol and/or drugs.
• I acknowledge that Tough Mudder recommends and encourages each participant to get medical
clearance from his/her personal physician prior to participation. I assert that I have not been advised or
cautioned against participating in base area type features by a medical practitioner.
• I represent and warrant that I (and/or my participating minor child/ward) am/are covered by medical
insurance.
• In the event of an injury or illness that renders me unconscious or incapable of making a medical
decision, I authorize appropriate Tough Mudder personnel and emergency medical personnel at the event
to make emergency medical decisions on my behalf (including, but not limited to CPR and AED). I further
authorize Tough Mudder to secure necessary emergency medical care or transportation (i.e., EMS) and I
agree to assume all costs of emergency medical care and transportation.
Entry and Participation Agreements:
Rules: I agree to become familiar with and abide by all written and/or posted rules of Tough Mudder, as
well as all written and/or posted rules of the Venue. I further agree to comply with all directions,
instructions and decisions of Tough Mudder and Venue personnel. I further agree not to challenge these
rules, directions, instructions, or decisions on any basis at any time.
Emergency Delay or Cancellation: I acknowledge that Tough Mudder at its sole discretion may delay,
modify, or cancel the TM Event if conditions beyond the control of Tough Mudder, or natural or man-made
emergencies beyond the control of Tough Mudder, make administering the event unreasonably difficult or
unsafe. I agree that “emergency” includes but is not limited to: high wind, extreme rain or hail, hurricane,
tornado, earthquake, flood, acts of terrorism, fire, threatened or actual strike, labor difficulty or work
stoppage, insurrection, war, public disaster, and unavoidable casualty. In the event of a delay,
modification, or cancellation of the TM Event as described in this paragraph, I understand that I will not be
entitled to a refund of my entry fee or any other costs incurred in connection with the TM Event. I further
understand and agree that the terms of this waiver shall apply to any newly rescheduled date or location.
Govern Participation: I understand that Tough Mudder has the authority to issue instructions or directions
relating to the manner of my safe participation in the Course or Related Activities and the authority to halt
my participation in the TM Event or Related Activities at any time they deem it necessary to protect the
safety of participants, spectators, and personnel; and/or promote fairness and the spirit of Tough Mudder.
Removal from Course: I understand that Tough Mudder and Venue personnel may immediately cause
anyone who disobeys any rules, directions, instructions, decisions, or laws, or whose behavior endangers
safety or negatively affects a person, facility, or property of any type or kind, to be removed from the
Course.
Fee Refunds: I understand that all fees and associated costs (including optional product purchases,
spectator tickets, and donations), paid in registration for this TM Event are not refundable for any reason
under any circumstances, including but not limited to injury, a scheduling conflict, and/or event
cancellation.
Military: I understand that active duty or deployed military participants may be entitled to a refund on a
case-by-case basis upon providing sufficient, official documentation regarding the deployment that
conflicts with participating in the event.
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Attitude and Behavior: I also agree to exhibit appropriate behavior at all times; demonstrate respect for all
people, equipment, and facilities; and participate with a cooperative and positive attitude.
Alcohol & Drugs: I certify that I am not, and on the date of the TM Event will not be, under the influence of
alcohol or any non-prescription drugs that would in any way impair my ability to safely participate in the
TM Event or base area features. I further understand that the consumption any alcohol and any illicit or
illegal drugs or substances during the event is strictly prohibited. Tough Mudder will only allow the
responsible consumption of alcohol after the TM Event. I agree to take full responsibility for any alcohol
consumption at the TM Event.
Specific Rules: I specifically acknowledge and agree to abide by the following rules: 1) no urination or
defecation is permitted outside of designated areas; 2) no non-medically necessary wheeled
conveyances or non-service animals are allowed on the Course at any time; 3) no clothing, props or
equipment that pose an unnecessary risk to participants, spectators or personnel are permitted; and 4)
obey civil and criminal laws including traffic laws.
Photography: I understand that any and all photographs, motion pictures, recordings, and/or likenesses of
me captured during the TM Event by Tough Mudder, its affiliated entities or contractors, and/or the media
become the sole property of Tough Mudder. I grant the right, permission and authority to Tough Mudder
and its designees to use my name and any such photographs, motion pictures, recordings, and/or
likenesses for any legitimate purpose, including but not limited to promoting, advertising, and marketing
activities. I further understand that Tough Mudder and its designees have the full right to sell and/or profit
from the commercial use of such photographs, motion pictures, recordings, and/or likenesses.
Majority Age: I affirm that I have reached majority age (or will have reached that age by the date of the
TM Event.Majority age is 18 in all states except Alabama (age 19), Missouri (age 19), Nebraska (age 19),
Mississippi (age 21).
Acknowledgment of Understanding:
I have read this Spectator Legal Liability Agreement, and Indemnification Agreement and fully understand
its terms. I understand that I am giving up substantial rights for myself and my children or wards, including
my and their right to sue. I further acknowledge that I am freely and voluntarily accepting the terms of the
agreement and participating as a spectator, and intend my electronic signature to be a complete and
unconditional release of all liability due to ORDINARY NEGLIGENCE of Tough Mudder or the INHERENT
RISKS of the activity, to the greatest extent allowed by law in the State in which the TM Event is held.
WAIVER #3: MINI MUDDER
PARENTAL/GUARDIAN CONSENT AND LEGAL LIABILITY AGREEMENT
PARENTS/GUARDIANS OF MINOR PARTICIPANTS: READ THIS DOCUMENT CAREFULLY BEFORE
AGREEING TO ITS TERMS. THIS DOCUMENT HAS LEGAL CONSEQUENCES AND MAY AFFECT
YOUR AND YOUR MINOR’S LEGAL RIGHTS, AND MAY ELIMINATE YOUR ABILITY TO BRING
FUTURE LEGAL ACTIONS. AS THE PARENT OR GUARDIAN OF A MINOR UNDER THE AGE OF 18
WHO IS ATTENDING THE TOUGH MUDDER EVENT WITH YOU, BY AGREEING TO THIS
DOCUMENT, YOU HEREBY AGREE TO THE TERMS OF THIS DOCUMENT ON THEIR BEHALF AND
GIVE APPROVAL FOR THE MINOR’S PARTICIPATION IN THE MINI MUDDER AREA AT THE TOUGH
MUDDER EVENT (“TOUGH MUDDER EVENT” INCLUDES THE MINI MUDDER EVENT) UNDER YOUR
DIRECT SUPERVISION.
Released Parties include Tough Mudder Incorporated and its directors, officers, employees, agents,
contractors, insurers, spectators, equipment suppliers, and volunteers; VENUE and their officers,
employees, agents, contractors, insurers, equipment suppliers, and volunteers; all Tough Mudder event
sponsors, organizers, promoters, directors, officials, property owners, and advertisers; governmental
bodies and/or municipal agencies whose property and/or personnel are used; and any or all parent,
subsidiary or affiliate companies, licensees, officers, directors, partners, board members, supervisors,
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insurers, agents, equipment suppliers, and representatives of any of the foregoing (hereinafter jointly
“Tough Mudder”)
Releasing Parties include: the parent/guardian, his or her minor(s) participating in the Mini Mudder Area,
and the parent/guardian’s spouse, children, parents, guardians, heirs, next of kin, and any legal or
personal representatives, executors, administrators, successors and assigns, or anyone else who might
claim or sue on behalf of the minor(s) participating in the Mini Mudder Area’s behalf and anyone who
might claim or sue on behalf of the parent/guardian.
Assumption of Inherent Risks:
The Mini Mudder Area is a part of the overall Tough Mudder Event and is a hazardous activity in a
dangerous environment. Some of the activities include, but are not li mi ted to runs, traversing pipes,
cargo nets and muddy areas, and climbing walls. The environment, the activities, and the efforts of
participants can put other participants at serious risk of injury. Some of the inherent risks to participants
include, but are not limited to contact or collision with 1) persons or objects (e.g., other participants,
course personnel, spectators), motor vehicles or machinery, and natural or man-made fixed objects or
obstacles; 2) obstacles (e.g., natural and man-made water, road and surface hazards, and pipes); 3)
weather-related hazards (e.g., extreme heat, extreme cold, humidity, ice, rain, fog); 4) inadequate first aid
and/or emergency measures; 5) judgment and/or behavior-related problems (e.g., erratic or inappropriate
behavior by participants, personnel, or spectators, and errors in judgment by personnel working the
event); and 6) natural hazards (e.g. uneven terrain, rock falls, lightning strikes, earthquakes, wildlife
attacks, poisonous plants, marine life and/or ticks). I understand, agree, and accept that some of the
obstacles my minor(s) may go through contain water that has not been tested for chemicals, disease, or
other contamination. My child will not dive head first into a mud pit.
This Parent/Guardian Consent and Legal Liability Agreement applies to 1) personal injury (including
death) from incidents or illnesses arising from the Mini Mudder, which includes injury during course
inspection, observation, the event, and while on the premises (including, but not limited to stands,
sidewalks, parking areas, restrooms, and dressing facilities); and 2) any and all of my claims relating to
the TM Event, including but not limited to, damaged, lost or stolen of property, and both contractual and
non-contractual claims
I further understand and acknowledge that any of these risks and others, not specifically named, may
cause injury or injuries that may be categorized as minor, serious, or catastrophic. Common minor injuries
include, but are not limited to: scrapes, bruises, sprains, nausea, and cuts. Less common serious injuries
also sometimes occur. They include, but are not limited to: property loss or damage, broken bones, torn
ligaments, concussions, exposure, heat - related illness, mental stress or exhaustion, infection, and
concussions. Catastrophic injuries are rare; however, we feel that our participants and their parents
should be aware that they could occur. These injuries can include but are not limited to permanent
disabilities, spinal injuries and paralysis, stroke, heart attack, amputation and even death.
I understand fully the inherent risks of my minor(s) participating in the Mini Mudder Area as well as the
inherent risks in connection with the Mini Mudder Area. I have read the preceding paragraphs and
acknowledge that I know, understand, and appreciate the risks. I hereby g iv e my full c o n s e n t a n d
app r o v a l f o r my mi n o r ( s ) t o participate in t h e Mini Mudder Area a n d assert that I knowingly
assume all of the inherent risks of the activity and take full responsibility for supervision in addition to all
damages, liabilities, losses, or expenses that I or my minor(s) incur(s) as a result of my or my minor(s)
presence in the Mini Mudder Area.
Waiver of Liability for ORDINARY NEGLIGENCE:
In consideration of my minor(s) being permitted to be a participant in the Mini Mudder Area, I (on behalf of
the Releasing Parties) hereby forever waive, release, covenant not to sue, and discharge Tough Mudder
INCORPORATED and the other Released Parties from any and all claims, suits, damages, liabilities,
costs, losses or expenses resulting from the INHERENT RISKS of the Mini Mudder Area or the
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ORDINARY NEGLIGENCE of Tough Mudder (hereafter used when referring to the corporate entity Tough
Mudder Incorporated and other Released Parties) that I or my minor(s) may have arising out of my or my
minor(s) presence at the Mini Mudder Area.
Indemnification Agreement:
In consideration of being permitted to attend the Mini Mudder Area and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged , I hereby agree to hold
harmless, defend and indemnify Tough Mudder (and the other Released Parties) from and againstany
and all claims of co-participants, co-spectators, rescuers, and others arising from my o r m y minor ( s )
conduct in the Mini Mudder Area. For the purposes hereof, “claims” includes all actions and causes of
action, claims, demands, losses, costs, expenses and damages, including legal fees and related
expenses. This indemnity shall survive the expiration or sooner termination of the Tough Mudder Event or
Mini Mudder Event.
Other Agreements:
If, despite the overriding Mediation and Arbitration provision I agree to below, legal action proceeds in a
court of law, the local state or federal court in the county in which the TM Event is held has the exclusive
jurisdiction and that only the substantive laws of the state in which the TM Event is held shall apply.
I assert that this Agreement is intended to be as broad and inclusive as is permitted by law in the State in
which the TM Event is held and that if any provision shall be found to be unlawful, void, or for any reason
unenforceable, then the remaining portions shall remain in full effect.
I affirm that this Agreement supersedes any and all previous oral or written promises or agreements;
constitutes the entire agreement between me and Tough Mudder; and can be amended only by a written
document duly executed by myself and Tough Mudder.
In the event of a legal issue, I agree to engage in good faith efforts to mediate any dispute that might
arise. Any agreement reached will be formalized by a written contractual agreement at that time. Should
the issue not be resolved by mediation, I agree that all disputes, controversies, or claims arising out of or
relating to my presence at the Tough Mudder Event shall be submitted to binding arbitration in
accordance with the applicable rules of the American Arbitration Association then in effect. The cost of
such action shall be shared equally by the parties. I further acknowledge and agree that any question,
issue, or dispute as to the arbitrability of any dispute, controversy, or claim arising out of my participation
in the Tough Mudder Event, will be submitted to an arbitrator in accordance with the applicable rules of
the American Arbitration Association (AAA) then in effect. The Arbitration Rules of the AAA are available
on-line atwww.adr.org.
I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs
I agree to dress myself and my minor(s) appropriately so as to mitigate risk of physical injury to myself or
my minor(s) including, but not limited to: wearing shoes appropriate for strenuous physical activity
involved in the Mini Mudder Area; and dressing in conjunction with the weather.
I agree that I have authority to act on behalf of my minor(s) attending the Tough Mudder Event.
Specific Rules and Limitations for Mini Mudder:
Limitations to Minor Participants and Their Parents: I understand that my Spectator ticket fee grants me
permission to be a spectator with my minor(s) in the Mini Mudder Area. I understand that this DOES NOT
GRANT ME OR MY MINOR(S) PERMISSION TO PARTICIPATE in the adult Tough Mudder Event. I
affirm that I have not paid the fee required to participate in the adult Tough Mudder Event and recognize
that should either I or my minor(s) participate in any part of the adult Tough Mudder Event, Tough Mudder
will eject me from the premises immediately and will, under no circumstances, be held responsible or
liable for any injury which either I or my minor(s) may suffer while participating illegally.
Health-Related Permissions by Spectators: In the event of an injury or illness that renders me or my
minor(s) unconscious or incapable of making a medical decision, I authorize appropriate Tough Mudder
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personnel and emergency medical personnel at the event to make emergency medical decisions on my
an d m y min o r’s behalf (including, but not limited to CPR and AED). I further authorize Tough Mudder to
secure necessary emergency medical care or transportation (i.e., EMS) and I agree to assume all costs of
emergency medical care and transportation
I acknowledge and fully understand that the minor(s) for whom I execute this document may engage only
in activities related to the Mini Mudder Area or the base area features, and that such activities involve risk
of serious injury, as described above, and severe social and economic losses which might result not only
from the minor’s own acts, omissions, or negligence but also from the acts, omissions, or negligence of
others, and further acknowledge that there may be other risks not known to me or reasonably foreseeable
at this time.
I acknowledge and fully understand that the minor(s) for whom I execute this document will not be subject
to supervision by the employees or agents of Tough Mudder and that I will be responsible for supervising
the above named minor in their use of the Mini Mudder Area.
I attest that, if I (or my minor(s)) am pregnant, disabled in any way, or have recently suffered an illness,
injury, or impairment, I (or my minor(s)) should have or did consult a physician prior to participating in the
Mini Mudder Area.
I assume all risks and hazards incidental to participation in the Mini Mudder Area, and I hereby waive,
release, absolve, indemnify, and agree to hold harmless the Released Parties for any claim arising or of
an injury to my minor(s) and from any and all liability, claims, actions, demands, expenses, attorney fees,
breach of contract actions, breach of statutory duty or other duty of care, warranty, strict liability actions,
and causes of action whatsoever arising out of or connected with my minor’s participation in the Mini
Mudder Area. I attest that the minor(s) for whom I execute this document, the above-named participant(s),
is/are a minimum of seven (7) years of age and a maximum of thirteen (13) years of age as of the date of
the Tough Mudder Event.
I have evaluated the ability of my minor(s) to be present in the Mini Mudder Area, based on prior
experience with my minor(s) in similar situations.
Rules: I specifically acknowledge and agree to abide by the following rules: 1) children may not be left
unsupervised by their parents or guardians at any time while participating in the Mini Mudder Area 2) no
urination or defecation is permitted outside of designated areas; 3) no non medically-necessary wheeled
conveyances or non-service animals are allowed in the Mini Mudder Area at any time; 4) no clothing,
props or equipment that pose an unnecessary risk to participants, spectators or personnel are permitted;
and 5) obey civil and criminal laws including traffic laws.
Emergency Delay or Cancellation: I acknowledge that Tough Mudder at its sole discretion may delay,
modify, or cancel the TM Event if conditions beyond the control of Tough Mudder, or natural or man-made
emergencies beyond the control of Tough Mudder, make administering the event unreasonably difficult or
unsafe. I agree that “emergency” includes but is not limited to: high wind, extreme rain or hail, hurricane,
tornado, earthquake, flood, acts of terrorism, fire, threatened or actual strike, labor difficulty or work
stoppage, insurrection, war, public disaster, and unavoidable casualty. In the event of a delay,
modification, or cancellation of the TM Event as described in this paragraph, I understand that I will not be
entitled to a refund of my entry fee or any other costs incurred in connection with the TM Event. I further
understand and agree that the terms of this waiver shall apply to any newly rescheduled date or location.
Photography: I understand that any and all photographs, motion pictures, recordings, and/or likenesses of
me and the minor(s) for whom I execute this document captured during the Tough Mudder Event by
Tough Mudder, its affiliated entities or contractors, and/or the media become the sole property of Tough
Mudder. I grant the right, permission and authority to Tough Mudder and its designees to use my and the
minor(s)’ for whom I execute this document name(s) and any such photographs, motion pictures,
recordings, and/or likenesses for any legitimate purpose, including but not limited to promoting,
advertising, and marketing activities. I further understand that Tough Mudder and its designees have the
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full right to sell and/or profit from the commercial use of such photographs, motion pictures, recordings,
and/or likenesses.
Majority Age: I affirm that I have reached majority age (or will have reached that age by the date of the
Tough Mudder Event). Majority age is 18 in all states except Alabama (age 19), Missouri (age 19),
Nebraska (age 19), Mississippi (age 21). I further affirm that my participating minor(s) is at least 7 years
old and at least 42’’ tall.
I AFFIRM THAT I AM THE PARENT OR LEGAL GUARDIAN OF THE MINOR PARTICIPANT(S) LISTED
BELOW AND HAVE THE AUTHORIZATION TO PERMIT THE MINOR PARTICIPANT(S) TO
UNDERTAKE THE ACTIVITIES DESCRIBED ABOVE.
Acknowledgment of Understanding:
I have read this Parental/Guardian Consent and Legal Liability Agreement and fully understand its terms.
I understand that I am giving up substantial rights for myself, my minor(s), and any other parents, or legal
guardians of my minor(s) including my and their right to sue. I further acknowledge that I am freely and
voluntarily accepting the terms of the Agreement and permitting my minor(s) to participate in the Mini
Mudder Area, and intend my electronic signature to be a complete and unconditional release of all liability
due to ORDINARY NEGLIGENCE of Tough Mudder or the INHERENT RISKS of the activity, to the
greatest extent allowed by law in the State in which the TM Event is held.



NON-DEL - Data Consent & Online and Onsite Mini Mudder Waiver

I am hereby consenting (and if the personal information submitted herein is of a minor below the age of
18, I am hereby consenting, and am lawfully permitted to consent, on his/her behalf) that Tough Mudder
Incorporated, on behalf of itself and its affiliated entities, can process my personal data for the purpose of
marketing, operating promoting, and informing me of its event series and related businesses. Subject to
applicable law and Tough Mudder policies, I am aware that I may withdraw my consent at any time by
using the data subject consent withdrawal process found in our legal terms and conditions (the link is
found on the footer of the Tough Mudder homepage).
READ THIS DOCUMENT CAREFULLY BEFORE AGREEING TO ITS TERMS. THIS DOCUMENT HAS
LEGAL CONSEQUENCES AND MAY AFFECT YOUR LEGAL RIGHTS AND MAY ELIMINATE YOUR
ABILITY TO BRING FUTURE LEGAL ACTIONS. SPECTATORS READ WAIVER #2, MINI MUDDERS
READ WAIVER #3.
WAIVER #2: Spectator Legal Liability Agreement
Spectators: READ THIS DOCUMENT CAREFULLY BEFORE AGREEING TO ITS TERMS. THIS
DOCUMENT HAS LEGAL CONSEQUENCES AND MAY AFFECT YOUR LEGAL RIGHTS AND MAY
ELIMINATE YOUR ABILITY TO BRING FUTURE LEGAL ACTIONS. IF YOU ARE A PARENT OR
GUARDIAN OF A SPECTATOR UNDER THE AGE OF 18 WHO IS ATTENDING THE TOUGH MUDDER
EVENT WITH YOU, BY AGREEING TO THIS DOCUMENT, YOU HEREBY AGREE TO THE TERMS OF
THIS DOCUMENT ON THEIR BEHALF AND GIVE APPROVAL FOR YOUR CHILD'S ATTENDANCE AT
THE TOUGH MUDDER EVENT.
Released Parties include TOUGH MUDDER INCORPORATED and its directors, officers, employees,
agents, contractors, insurers, participants, spectators, equipment suppliers, and volunteers; VENUE and
its directors, officers, employees, agents, contractors, insurers, equipment suppliers, and volunteers; all
TOUGH MUDDER INCORPORATED event sponsors, organizers, promoters, directors, officials, property
owners, and advertisers; governmental bodies and/or municipal agencies whose property and/or
personnel are used; and any or all parent, predecessor, subsidiary or affiliate companies, licensees,
officers, directors, partners, board members, supervisors, insurers, agents, equipment suppliers, and
representatives of any of the foregoing.
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Releasing Parties include: the spectator as well as his or her spouse, children, parents, guardians, heirs,
next of kin, and any legal or personal representatives, executors, administrators, successors and assigns,
or anyone else who might claim or sue on the spectator’s behalf.
Assumption of Inherent Risks:
The TM Event (hereafter used to refer to the appropriate Tough Mudder, Tougher Mudder, Toughest
Mudder, World’s Toughest Mudder or Tough Mudder 5k or other Tough Mudder operated event) is a
hazardous activity that takes place in a dangerous and hostile environment. Some of the activities include
runs, military style obstacles, going through pipes, traversing cargo nets, climbing walls, encountering
electric voltage and fire, swimming in cold water, throwing, carrying, or getting hit with heavy objects, and
traversing muddy areas. The environment, the activities, and the competitive efforts of the participants
can put spectators at serious risk of injury. Spectators will also have the opportunity to participate in base
area features. These base area features, like the course, carry inherent risks. Some of the inherent risks
to spectators on both the course and base area include, but are not limited to contact or collision with 1)
persons or objects (e.g., collision with other spectators, course personnel, participants), motor vehicles or
machinery, and natural or man-made fixed objects or obstacles; 2) obstacles (e.g., natural and man-made
water, road and surface hazards, close proximity and/or contact with thick smoke and open flames,
barbed wire, pipes, and electric shocks); 3) weather-related hazards (e.g., extreme heat, extreme cold,
humidity, ice, rain, fog); 4) inadequate first aid and/or emergency measures; 5) judgment- and/or
behavior-related problems (e.g., erratic or inappropriate behavior by participants, personnel, or other
spectators, and errors in judgment by personnel working the event); and 6) natural hazards (e.g., uneven
terrain, rock falls, lightning strikes, earthquakes, wildlife attacks, contact with poisonous plants, marine life
and/or ticks).
I further understand and acknowledge that any of these risks and others, not specifically named, may
cause injury or injuries that may be categorized as minor, serious, or catastrophic. Common minor injuries
include, but are not limited to: scrapes, bruises, sprains, strains, muscle tension and soreness, nausea,
cuts, sunburn, abrasions, grazes, lacerations, and contusions. Less common serious injuries also
sometimes occur. They include but are not limited to property loss or damage, broken bones, fractures,
torn or strained ligaments and tendons, concussions, exposure, dehydration, heat exhaustion and other
heat-related illnesses, mental stress or exhaustion, infection, vomiting, dislocations, hyperthermia,
hypothermia, anemia, electrolyte imbalance, loss of consciousness, syncope, dizziness, fainting,
seizures, electric shock and/or injury, and neurological disorders/pain. Catastrophic injuries are rare;
however, we feel that our spectators should be aware that they could occur. These injuries can include
but are not limited to permanent disabilities, spinal injuries and paralysis, stroke, heart attack, and even
death.
I further understand and acknowledge that the TM Event may contain obstacles with electrically charged
wiring and fencing. During this event I may be exposed to such electrically charged live wiring. I
understand and acknowledge that exposure to such electrically charged objects may directly cause or
contribute to bodily injury. These injuries may be serious and permanent. The injuries include, but are not
limited to: skin irritation, electrical burns, muscle spasm, muscle contraction, single or multiple organ
failure, eye injuries including cataracts and temporary or permanent blindness, cardiac arrest, amputation,
heart attack, disruption of normal cardiac rhythm, bleeding, muscular swelling, decreased blood flow to
extremities, loss of consciousness, coma, seizure, spinal cord injury, fracture, injury to ligaments,
paralysis, stroke muscle weakness, neurological disorder, tingling sensations, infection, muscle
breakdown or destruction, depression, anxiety, aggressive behavior, ulcer, pneumonia, sepsis, and even
death.
I understand fully the inherent risks of a being a spectator for a TM Event. I have read the preceding
paragraphs and acknowledge that I know, understand, and appreciate the risks of being a spectator. I
hereby assert that I knowingly assume all of the inherent risks of the activity and take full responsibility for
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any and all damages, liabilities, losses, or expenses that I incur as a result of my presence at the TM
Event.
Waiver of Liability for ORDINARY NEGLIGENCE:
In consideration of being permitted to be a spectator in the TM Event, I (on behalf of the Releasing
Parties) hereby forever waive, release, covenant not to sue, and discharge Tough Mudder
INCORPORATED and the other Released Parties from any and all claims, suits, damages, liabilities,
costs, losses or expenses resulting from the INHERENT RISKS of the TM Event or the ORDINARY
NEGLIGENCE of Tough Mudder (hereafter used when referring to the corporate entity Tough Mudder
Incorporated and other Released Parties) that I may have arising out of my presence at the TM Event.
This Spectator Legal Liability Agreement applies to 1) personal injury (including death) from incidents or
illnesses arising from the TM Event participation, which includes injury during course inspection,
observation, the event, medical treatment, base area features and while on the premises (including, but
not limited to base area, stands, sidewalks, parking areas, sponsor promotions, restrooms, first-aid tents,
and dressing facilities); and 2) any and all of my claims relating to the TM Event, including but not limited
to, damaged, lost or stolen property, and both contractual and non-contractual claims.
Indemnification Agreement:
In consideration of being permitted to attend the TM Event and for other good and valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, I hereby agree to hold harmless, defend
and indemnify Tough Mudder (and the other Released Parties) from and against any and all claims of
co-spectators, rescuers, and others arising from my conduct in the course of my attending the TM Event.
For the purposes hereof, “claims” includes all actions and causes of action, claims, demands, losses,
costs, expenses and damages, including legal fees and related expenses. This indemnity shall survive
the expiration or sooner termination of the TM Event.
Other Agreements:
If, despite the overriding Mediation and Arbitration provision I agree to below, legal action proceeds in a
court of law, the local state or federal court in the county in which the TM Event is held has the exclusive
jurisdiction and that only the substantive laws of the state in which the TM Event is held shall apply.I
assert that this Agreement is intended to be as broad and inclusive as is permitted by the State in which
the TM Event is held and that if any provision shall be found to be unlawful, void, or for any reason
unenforceable, then the remaining portions shall remain in full effect.
I affirm that this agreement supersedes any and all previous oral or written promises or agreements;
constitutes the entire agreement between me and Tough Mudder; and can be amended only by a written
document duly executed by all parties.
In the event of a legal issue, I agree to engage in good faith efforts to mediate any dispute that might
arise. Any agreement reached will be formalized by a written contractual agreement at that time. Should
the issue not be resolved by mediation, I agree that all disputes, controversies, or claims arising out of my
presence at the TM Event shall be submitted to binding arbitration in accordance with the applicable rules
of the American Arbitration Association then in effect. The Arbitration Rules of the American Arbitration
Association are available on-line at www.adr.org. The cost of such action shall be shared equally by the
parties.
I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs.
I agree that any arbitration, mediation or legal action shall proceed solely on an individual basis without
the right for any claims to be arbitrated on a class action basis or on bases involving claims brought in a
purported representative capacity on behalf of others. Claims may not be joined or consolidated unless
agreed to in writing by all parties.
Limitations to Spectators:
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I understand that I have been granted permission to be a spectator for the TM Event. I understand that
this DOES NOT GRANT ME PERMISSION TO PARTICIPATE in any part of the TM Event. I will,
however, have the opportunity to participate in base area features. I affirm that I have not paid the fee
required to participate in the TM Event and recognize that should I participate in any activity, Tough
Mudder will eject me from the premises immediately and will, under no circumstances, be held
responsible or liable for any injury which I may suffer while participating illegally.
Health-Related Permissions by Spectators:
• I represent and warrant that I am/are in good health and in proper physical condition to safely participate
in the TM Event base area features. I certify that I have no known or knowable physical or mental
conditions that would affect my/our ability to safely participate in the TM Event base area features, or that
would result in my participation creating a risk of danger to myself (and/or my participating minor
child/ward) or to others.
• I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs and agree not to participate in a TM Event base area feature while under the influence of
alcohol and/or drugs.
• I acknowledge that Tough Mudder recommends and encourages each participant to get medical
clearance from his/her personal physician prior to participation. I assert that I have not been advised or
cautioned against participating in base area type features by a medical practitioner.
• I represent and warrant that I (and/or my participating minor child/ward) am/are covered by medical
insurance.
• In the event of an injury or illness that renders me unconscious or incapable of making a medical
decision, I authorize appropriate Tough Mudder personnel and emergency medical personnel at the event
to make emergency medical decisions on my behalf (including, but not limited to CPR and AED). I further
authorize Tough Mudder to secure necessary emergency medical care or transportation (i.e., EMS) and I
agree to assume all costs of emergency medical care and transportation.
Entry and Participation Agreements:
Rules: I agree to become familiar with and abide by all written and/or posted rules of Tough Mudder, as
well as all written and/or posted rules of the Venue. I further agree to comply with all directions,
instructions and decisions of Tough Mudder and Venue personnel. I further agree not to challenge these
rules, directions, instructions, or decisions on any basis at any time.
Emergency Delay or Cancellation: I acknowledge that Tough Mudder at its sole discretion may delay,
modify, or cancel the TM Event if conditions beyond the control of Tough Mudder, or natural or man-made
emergencies beyond the control of Tough Mudder, make administering the event unreasonably difficult or
unsafe. I agree that “emergency” includes but is not limited to: high wind, extreme rain or hail, hurricane,
tornado, earthquake, flood, acts of terrorism, fire, threatened or actual strike, labor difficulty or work
stoppage, insurrection, war, public disaster, and unavoidable casualty. In the event of a delay,
modification, or cancellation of the TM Event as described in this paragraph, I understand that I will not be
entitled to a refund of my entry fee or any other costs incurred in connection with the TM Event. I further
understand and agree that the terms of this waiver shall apply to any newly rescheduled date or location.
Govern Participation: I understand that Tough Mudder has the authority to issue instructions or directions
relating to the manner of my safe participation in the Course or Related Activities and the authority to halt
my participation in the TM Event or Related Activities at any time they deem it necessary to protect the
safety of participants, spectators, and personnel; and/or promote fairness and the spirit of Tough Mudder.
Removal from Course: I understand that Tough Mudder and Venue personnel may immediately cause
anyone who disobeys any rules, directions, instructions, decisions, or laws, or whose behavior endangers
safety or negatively affects a person, facility, or property of any type or kind, to be removed from the
Course.
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Fee Refunds: I understand that all fees and associated costs (including optional product purchases,
spectator tickets, and donations), paid in registration for this TM Event are not refundable for any reason
under any circumstances, including but not limited to injury, a scheduling conflict, and/or event
cancellation.
Military: I understand that active duty or deployed military participants may be entitled to a refund on a
case-by-case basis upon providing sufficient, official documentation regarding the deployment that
conflicts with participating in the event.
Attitude and Behavior: I also agree to exhibit appropriate behavior at all times; demonstrate respect for all
people, equipment, and facilities; and participate with a cooperative and positive attitude.
Alcohol & Drugs: I certify that I am not, and on the date of the TM Event will not be, under the influence of
alcohol or any non-prescription drugs that would in any way impair my ability to safely participate in the
TM Event or base area features. I further understand that the consumption any alcohol and any illicit or
illegal drugs or substances during the event is strictly prohibited. Tough Mudder will only allow the
responsible consumption of alcohol after the TM Event. I agree to take full responsibility for any alcohol
consumption at the TM Event.
Specific Rules: I specifically acknowledge and agree to abide by the following rules: 1) no urination or
defecation is permitted outside of designated areas; 2) no non-medically necessary wheeled
conveyances or non-service animals are allowed on the Course at any time; 3) no clothing, props or
equipment that pose an unnecessary risk to participants, spectators or personnel are permitted; and 4)
obey civil and criminal laws including traffic laws.
Photography: I understand that any and all photographs, motion pictures, recordings, and/or likenesses of
me captured during the TM Event by Tough Mudder, its affiliated entities or contractors, and/or the media
become the sole property of Tough Mudder. I grant the right, permission and authority to Tough Mudder
and its designees to use my name and any such photographs, motion pictures, recordings, and/or
likenesses for any legitimate purpose, including but not limited to promoting, advertising, and marketing
activities. I further understand that Tough Mudder and its designees have the full right to sell and/or profit
from the commercial use of such photographs, motion pictures, recordings, and/or likenesses.
Majority Age: I affirm that I have reached majority age (or will have reached that age by the date of the
TM Event.Majority age is 18 in all states except Alabama (age 19), Missouri (age 19), Nebraska (age 19),
Mississippi (age 21).
Acknowledgment of Understanding:
I have read this Spectator Legal Liability Agreement, and Indemnification Agreement and fully understand
its terms. I understand that I am giving up substantial rights for myself and my children or wards, including
my and their right to sue. I further acknowledge that I am freely and voluntarily accepting the terms of the
agreement and participating as a spectator, and intend my electronic signature to be a complete and
unconditional release of all liability due to ORDINARY NEGLIGENCE of Tough Mudder or the INHERENT
RISKS of the activity, to the greatest extent allowed by law in the State in which the TM Event is held.
WAIVER #3: MINI MUDDER
PARENTAL/GUARDIAN CONSENT AND LEGAL LIABILITY AGREEMENT
PARENTS/GUARDIANS OF MINOR PARTICIPANTS: READ THIS DOCUMENT CAREFULLY BEFORE
AGREEING TO ITS TERMS. THIS DOCUMENT HAS LEGAL CONSEQUENCES AND MAY AFFECT
YOUR AND YOUR MINOR’S LEGAL RIGHTS, AND MAY ELIMINATE YOUR ABILITY TO BRING
FUTURE LEGAL ACTIONS. AS THE PARENT OR GUARDIAN OF A MINOR UNDER THE AGE OF 18
WHO IS ATTENDING THE TOUGH MUDDER EVENT WITH YOU, BY AGREEING TO THIS
DOCUMENT, YOU HEREBY AGREE TO THE TERMS OF THIS DOCUMENT ON THEIR BEHALF AND
GIVE APPROVAL FOR THE MINOR’S PARTICIPATION IN THE MINI MUDDER AREA AT THE TOUGH
MUDDER EVENT (“TOUGH MUDDER EVENT” INCLUDES THE MINI MUDDER EVENT) UNDER YOUR
DIRECT SUPERVISION.
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Released Parties include Tough Mudder Incorporated and its directors, officers, employees, agents,
contractors, insurers, spectators, equipment suppliers, and volunteers; VENUE and their officers,
employees, agents, contractors, insurers, equipment suppliers, and volunteers; all Tough Mudder event
sponsors, organizers, promoters, directors, officials, property owners, and advertisers; governmental
bodies and/or municipal agencies whose property and/or personnel are used; and any or all parent,
subsidiary or affiliate companies, licensees, officers, directors, partners, board members, supervisors,
insurers, agents, equipment suppliers, and representatives of any of the foregoing (hereinafter jointly
“Tough Mudder”)
Releasing Parties include: the parent/guardian, his or her minor(s) participating in the Mini Mudder Area,
and the parent/guardian’s spouse, children, parents, guardians, heirs, next of kin, and any legal or
personal representatives, executors, administrators, successors and assigns, or anyone else who might
claim or sue on behalf of the minor(s) participating in the Mini Mudder Area’s behalf and anyone who
might claim or sue on behalf of the parent/guardian.
Assumption of Inherent Risks:
The Mini Mudder Area is a part of the overall Tough Mudder Event and is a hazardous activity in a
dangerous environment. Some of the activities include, but are not li mi ted to runs, traversing pipes,
cargo nets and muddy areas, and climbing walls. The environment, the activities, and the efforts of
participants can put other participants at serious risk of injury. Some of the inherent risks to participants
include, but are not limited to contact or collision with 1) persons or objects (e.g., other participants,
course personnel, spectators), motor vehicles or machinery, and natural or man-made fixed objects or
obstacles; 2) obstacles (e.g., natural and man-made water, road and surface hazards, and pipes); 3)
weather-related hazards (e.g., extreme heat, extreme cold, humidity, ice, rain, fog); 4) inadequate first aid
and/or emergency measures; 5) judgment and/or behavior-related problems (e.g., erratic or inappropriate
behavior by participants, personnel, or spectators, and errors in judgment by personnel working the
event); and 6) natural hazards (e.g. uneven terrain, rock falls, lightning strikes, earthquakes, wildlife
attacks, poisonous plants, marine life and/or ticks). I understand, agree, and accept that some of the
obstacles my minor(s) may go through contain water that has not been tested for chemicals, disease, or
other contamination. My child will not dive head first into a mud pit.
This Parent/Guardian Consent and Legal Liability Agreement applies to 1) personal injury (including
death) from incidents or illnesses arising from the Mini Mudder, which includes injury during course
inspection, observation, the event, and while on the premises (including, but not limited to stands,
sidewalks, parking areas, restrooms, and dressing facilities); and 2) any and all of my claims relating to
the TM Event, including but not limited to, damaged, lost or stolen of property, and both contractual and
non-contractual claims
I further understand and acknowledge that any of these risks and others, not specifically named, may
cause injury or injuries that may be categorized as minor, serious, or catastrophic. Common minor injuries
include, but are not limited to: scrapes, bruises, sprains, nausea, and cuts. Less common serious injuries
also sometimes occur. They include, but are not limited to: property loss or damage, broken bones, torn
ligaments, concussions, exposure, heat - related illness, mental stress or exhaustion, infection, and
concussions. Catastrophic injuries are rare; however, we feel that our participants and their parents
should be aware that they could occur. These injuries can include but are not limited to permanent
disabilities, spinal injuries and paralysis, stroke, heart attack, amputation and even death.
I understand fully the inherent risks of my minor(s) participating in the Mini Mudder Area as well as the
inherent risks in connection with the Mini Mudder Area. I have read the preceding paragraphs and
acknowledge that I know, understand, and appreciate the risks. I hereby g iv e my full c o n s e n t a n d
app r o v a l f o r my mi n o r ( s ) t o participate in t h e Mini Mudder Area a n d assert that I knowingly
assume all of the inherent risks of the activity and take full responsibility for supervision in addition to all
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damages, liabilities, losses, or expenses that I or my minor(s) incur(s) as a result of my or my minor(s)
presence in the Mini Mudder Area.
Waiver of Liability for ORDINARY NEGLIGENCE:
In consideration of my minor(s) being permitted to be a participant in the Mini Mudder Area, I (on behalf of
the Releasing Parties) hereby forever waive, release, covenant not to sue, and discharge Tough Mudder
INCORPORATED and the other Released Parties from any and all claims, suits, damages, liabilities,
costs, losses or expenses resulting from the INHERENT RISKS of the Mini Mudder Area or the
ORDINARY NEGLIGENCE of Tough Mudder (hereafter used when referring to the corporate entity Tough
Mudder Incorporated and other Released Parties) that I or my minor(s) may have arising out of my or my
minor(s) presence at the Mini Mudder Area.
Indemnification Agreement:
In consideration of being permitted to attend the Mini Mudder Area and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged , I hereby agree to hold
harmless, defend and indemnify Tough Mudder (and the other Released Parties) from and againstany
and all claims of co-participants, co-spectators, rescuers, and others arising from my o r m y minor ( s )
conduct in the Mini Mudder Area. For the purposes hereof, “claims” includes all actions and causes of
action, claims, demands, losses, costs, expenses and damages, including legal fees and related
expenses. This indemnity shall survive the expiration or sooner termination of the Tough Mudder Event or
Mini Mudder Event.
Other Agreements:
If, despite the overriding Mediation and Arbitration provision I agree to below, legal action proceeds in a
court of law, the local state or federal court in the county in which the TM Event is held has the exclusive
jurisdiction and that only the substantive laws of the state in which the TM Event is held shall apply.
I assert that this Agreement is intended to be as broad and inclusive as is permitted by law in the State in
which the TM Event is held and that if any provision shall be found to be unlawful, void, or for any reason
unenforceable, then the remaining portions shall remain in full effect.
I affirm that this Agreement supersedes any and all previous oral or written promises or agreements;
constitutes the entire agreement between me and Tough Mudder; and can be amended only by a written
document duly executed by myself and Tough Mudder.
In the event of a legal issue, I agree to engage in good faith efforts to mediate any dispute that might
arise. Any agreement reached will be formalized by a written contractual agreement at that time. Should
the issue not be resolved by mediation, I agree that all disputes, controversies, or claims arising out of or
relating to my presence at the Tough Mudder Event shall be submitted to binding arbitration in
accordance with the applicable rules of the American Arbitration Association then in effect. The cost of
such action shall be shared equally by the parties. I further acknowledge and agree that any question,
issue, or dispute as to the arbitrability of any dispute, controversy, or claim arising out of my participation
in the Tough Mudder Event, will be submitted to an arbitrator in accordance with the applicable rules of
the American Arbitration Association (AAA) then in effect. The Arbitration Rules of the AAA are available
on-line atwww.adr.org.
I represent and warrant that I am in full command of my faculties and am not under the influence of
alcohol or drugs
I agree to dress myself and my minor(s) appropriately so as to mitigate risk of physical injury to myself or
my minor(s) including, but not limited to: wearing shoes appropriate for strenuous physical activity
involved in the Mini Mudder Area; and dressing in conjunction with the weather.
I agree that I have authority to act on behalf of my minor(s) attending the Tough Mudder Event.
Specific Rules and Limitations for Mini Mudder:
Limitations to Minor Participants and Their Parents: I understand that my Spectator ticket fee grants me
permission to be a spectator with my minor(s) in the Mini Mudder Area. I understand that this DOES NOT
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GRANT ME OR MY MINOR(S) PERMISSION TO PARTICIPATE in the adult Tough Mudder Event. I
affirm that I have not paid the fee required to participate in the adult Tough Mudder Event and recognize
that should either I or my minor(s) participate in any part of the adult Tough Mudder Event, Tough Mudder
will eject me from the premises immediately and will, under no circumstances, be held responsible or
liable for any injury which either I or my minor(s) may suffer while participating illegally.
Health-Related Permissions by Spectators: In the event of an injury or illness that renders me or my
minor(s) unconscious or incapable of making a medical decision, I authorize appropriate Tough Mudder
personnel and emergency medical personnel at the event to make emergency medical decisions on my
an d m y min o r’s behalf (including, but not limited to CPR and AED). I further authorize Tough Mudder to
secure necessary emergency medical care or transportation (i.e., EMS) and I agree to assume all costs of
emergency medical care and transportation
I acknowledge and fully understand that the minor(s) for whom I execute this document may engage only
in activities related to the Mini Mudder Area or the base area features, and that such activities involve risk
of serious injury, as described above, and severe social and economic losses which might result not only
from the minor’s own acts, omissions, or negligence but also from the acts, omissions, or negligence of
others, and further acknowledge that there may be other risks not known to me or reasonably foreseeable
at this time.
I acknowledge and fully understand that the minor(s) for whom I execute this document will not be subject
to supervision by the employees or agents of Tough Mudder and that I will be responsible for supervising
the above named minor in their use of the Mini Mudder Area.
I attest that, if I (or my minor(s)) am pregnant, disabled in any way, or have recently suffered an illness,
injury, or impairment, I (or my minor(s)) should have or did consult a physician prior to participating in the
Mini Mudder Area.
I assume all risks and hazards incidental to participation in the Mini Mudder Area, and I hereby waive,
release, absolve, indemnify, and agree to hold harmless the Released Parties for any claim arising or of
an injury to my minor(s) and from any and all liability, claims, actions, demands, expenses, attorney fees,
breach of contract actions, breach of statutory duty or other duty of care, warranty, strict liability actions,
and causes of action whatsoever arising out of or connected with my minor’s participation in the Mini
Mudder Area. I attest that the minor(s) for whom I execute this document, the above-named participant(s),
is/are a minimum of seven (7) years of age and a maximum of thirteen (13) years of age as of the date of
the Tough Mudder Event.
I have evaluated the ability of my minor(s) to be present in the Mini Mudder Area, based on prior
experience with my minor(s) in similar situations.
Rules: I specifically acknowledge and agree to abide by the following rules: 1) children may not be left
unsupervised by their parents or guardians at any time while participating in the Mini Mudder Area 2) no
urination or defecation is permitted outside of designated areas; 3) no non medically-necessary wheeled
conveyances or non-service animals are allowed in the Mini Mudder Area at any time; 4) no clothing,
props or equipment that pose an unnecessary risk to participants, spectators or personnel are permitted;
and 5) obey civil and criminal laws including traffic laws.
Emergency Delay or Cancellation: I acknowledge that Tough Mudder at its sole discretion may delay,
modify, or cancel the TM Event if conditions beyond the control of Tough Mudder, or natural or man-made
emergencies beyond the control of Tough Mudder, make administering the event unreasonably difficult or
unsafe. I agree that “emergency” includes but is not limited to: high wind, extreme rain or hail, hurricane,
tornado, earthquake, flood, acts of terrorism, fire, threatened or actual strike, labor difficulty or work
stoppage, insurrection, war, public disaster, and unavoidable casualty. In the event of a delay,
modification, or cancellation of the TM Event as described in this paragraph, I understand that I will not be
entitled to a refund of my entry fee or any other costs incurred in connection with the TM Event. I further
understand and agree that the terms of this waiver shall apply to any newly rescheduled date or location.
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Photography: I understand that any and all photographs, motion pictures, recordings, and/or likenesses of
me and the minor(s) for whom I execute this document captured during the Tough Mudder Event by
Tough Mudder, its affiliated entities or contractors, and/or the media become the sole property of Tough
Mudder. I grant the right, permission and authority to Tough Mudder and its designees to use my and the
minor(s)’ for whom I execute this document name(s) and any such photographs, motion pictures,
recordings, and/or likenesses for any legitimate purpose, including but not limited to promoting,
advertising, and marketing activities. I further understand that Tough Mudder and its designees have the
full right to sell and/or profit from the commercial use of such photographs, motion pictures, recordings,
and/or likenesses.
Majority Age: I affirm that I have reached majority age (or will have reached that age by the date of the
Tough Mudder Event). Majority age is 18 in all states except Alabama (age 19), Missouri (age 19),
Nebraska (age 19), Mississippi (age 21). I further affirm that my participating minor(s) is at least 7 years
old and at least 42’’ tall.
I AFFIRM THAT I AM THE PARENT OR LEGAL GUARDIAN OF THE MINOR PARTICIPANT(S) LISTED
BELOW AND HAVE THE AUTHORIZATION TO PERMIT THE MINOR PARTICIPANT(S) TO
UNDERTAKE THE ACTIVITIES DESCRIBED ABOVE.
Acknowledgment of Understanding:
I have read this Parental/Guardian Consent and Legal Liability Agreement and fully understand its terms.
I understand that I am giving up substantial rights for myself, my minor(s), and any other parents, or legal
guardians of my minor(s) including my and their right to sue. I further acknowledge that I am freely and
voluntarily accepting the terms of the Agreement and permitting my minor(s) to participate in the Mini
Mudder Area, and intend my electronic signature to be a complete and unconditional release of all liability
due to ORDINARY NEGLIGENCE of Tough Mudder or the INHERENT RISKS of the activity, to the
greatest extent allowed by law in the State in which the TM Event is held.
